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                 Exhibit 4
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                                                                     Page 1
 1               UNITED STATES DISTRICT COURT
 2             NORTHERN DISTRICT OF CALIFORNIA
 3

 4   IN RE:    ROUNDUP PRODUCTS                  )
     LIABILITY LITIGATION,                       )
 5                                               )
     ______________________________ ) MDL No. 2741
 6                                               )
     This document relates to:                   ) Case No.
 7                                               ) 16-md-02741-VC
     ALL ACTIONS                                 )
 8                                               )
     _______________________________)
 9

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14

15                     VIDEO DEPOSITION OF
16                     BEATE RITZ, MD, PHD
17                   Los Angeles, California
18                  Friday, January 19, 2018
19

20

21

22    Reported by:
23    LISA MOSKOWITZ, CSR 10816, RPR, CRR, CLR,
24    NCRA Realtime Systems Administrator
25    JOB NO. 136022

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                                         Page 2                                                       Page 4
 1                                                 1    --------------- I N D E X -----------------
 2                                                 2   WITNESS:           EXAMINATION                  PAGE
 3                                                 3   Beate Ritz, M.D., Ph.D.
 4                                                 4              Mr. Lasker           8, 185
 5          January 19, 2018                       5              Ms. Forgie             152
 6             1:06 p.m.                           6
 7                                                 7
 8                                                 8     -------------- E X H I B I T S ------------
 9         Video deposition of BEATE RITZ, MD,     9   NUMBER                             MARKED
10   PHD, held at the offices of Baum, Hedlund,   10   Exhibit 30-1 Supplemental Report of             8
11   Aristei & Goldman, PC, 12100 Wilshire        11              Dr. Beate Ritz, M.D.,
12   Boulevard, Suite 950, Los Angeles,           12              Ph.D.
13   California, before Lisa Moskowitz,           13   Exhibit 30-2 Alavanja Study                 11
14   California CSR 10816, RPR, CRR, CLR, NCRA    14   Exhibit 30-3 Koutros Study                 12
15   Realtime Systems Administrator.              15   Exhibit 30-4 Silver Study                15
16                                                16   Exhibit 30-5 Jones                    17
17                                                17   Exhibit 30-6 Koutros Study                 19
18                                                18   Exhibit 30-7 Engel Study                  21
19                                                19   Exhibit 30-8 Bonner Study                  23
20                                                20   Exhibit 30-9 Benbrook Study                  43
21                                                21   Exhibit 30-10 AHS Imputation                  67
22                                                22              Methodology
23                                                23   Exhibit 30-11 Andreotti Study               70
24                                                24
25                                                25



                                         Page 3                                                       Page 5
 1   A P P E A R A N C E S:                        1    -------------- E X H I B I T S ------------
 2     ANDRUS WAGSTAFF ATTORNEYS AT LAW            2   NUMBER                             MARKED
 3     Attorneys for Plaintiffs                    3   Exhibit 30-12 AHS Imputation                 74
 4     7171 West Alaska Drive                      4              Methodology NCI 2018
 5     Lakewood, Colorado 80226                    5              Sensitivity Analysis II
 6     BY: KATHRYN FORGIE, ESQ.                    6   Exhibit 30-13 AHS Imputation                 81
 7     BY: DAVID WOOL, ESQ. (By telephone)         7              Methodology NCI 2018
 8                                                 8              Sensitivity Analysis II
 9    BAUM HEDLUND ARISTEI & GOLDMAN               9   Exhibit 30-14 AHS Imputation                 85
10    Attorneys for Plaintiffs                    10              Methodology NCI 2018
11    12100 Wilshire Boulevard                    11              Sensitivity Analysis III
12    Los Angeles, California 90025               12   Exhibit 30-15 Memo by John Acquavella, 104
13    BY: MICHAEL BAUM, ESQ.                      13              dated 7/22/97
14    BY: PEDRAM ESFANDIARY, ESQ.                 14   Exhibit 30-16 Liew Study                  109
15                                                15   Exhibit 30-17 Blair Study                116
16    HOLLINGSWORTH                               16   Exhibit 30-18 Gray Study                  133
17    Attorneys for Defendant Monsanto            17   Exhibit 30-19 Blair Study                138
18    1350 I Street, N.W.                         18   Exhibit 30-20 Expert Report of Dr.           156
19    Washington, D.C. 20005                      19              Beate Ritz, M.D., Ph.D.
20    BY: ERIC LASKER, ESQ.                       20   Exhibit 30-21 Acquavella Study               176
21    BY: ELYSE SHIMADA, ESQ.                     21   Exhibit 30-22 Ward Editorial               176
22                                                22
23   ALSO PRESENT:                                23
24    SCOTT McNAIR, Videographer                  24
25                                                25



                                                                             2 (Pages 2 to 5)
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                                             Page 6                                            Page 8
 1   LOS ANGELES, FRIDAY, JANUARY 19, 2018             1         MS. FORGIE: I have a statement for
 2         1:06 P.M.                                   2     the record. This deposition is being
 3                                                     3     taken pursuant to pretrial order number
 4      THE VIDEOGRAPHER: Good afternoon.              4     34, and it is limited to the December,
 5   This is the start of tape labeled                 5     2017 -- not December, 2017. The 2017
 6   number 1 of the videotaped deposition of          6     AHS study and limited for two-and-a-half
 7   Dr. Beate Ritz in the matter of Roundup           7     hours.
 8   Products Liability Litigation. This               8         MR. LASKER: Just for
 9   case is before the United States                  9     clarification, the study will be
10   District Court for the Northern District         10     published in 2018. So I may refer to it
11   of California, case number bearing MDL           11     as the 2018 study. Beyond that, why
12   number 2741 and case number 16-MD-02741-VC.      12     don't we get started.
13      This deposition is being held at              13
14   12100 Wilshire Boulevard, Los Angeles,           14               EXAMINATION
15   California. Today's date is January 19,          15   BY MR. LASKER:
16   2018. The time is approximately                  16      Q. Dr. Ritz, let me hand to you what's
17   1:06 p.m.                                        17   been marked as Deposition Exhibit 30-1.
18      My name is Scott McNair from TSG              18         (Exhibit Number 30-1 was marked
19   Reporting, Incorporated. I'm the legal           19         for identification.)
20   video specialist. The court reporter             20   BY MR. LASKER:
21   today is Lisa Moskowitz also in                  21      Q. Dr. Ritz, if you could just
22   association with TSG Reporting.                  22   identify for the record this is the
23      Will counsel please identify                  23   supplemental expert report that you have
24   yourselves for the record.                       24   submitted in this litigation; correct?
25      MR. LASKER: Erick Lasker from                 25      A. Yes.

                                             Page 7                                            Page 9
 1     Hollingsworth, LLP, on behalf of                1      Q. I'd like to start off if you could
 2     Monsanto.                                       2   turn to page 8 of your report. Toward the
 3        MS. SHIMADA: Elyse Shimada from              3   top you state "Thus overall and in summary,
 4     Hollingsworth, LLP, on behalf of                4   there is non-differential exposure
 5     Monsanto.                                       5   misclassification from several sources that
 6        MR. ESFANDIARY: Pedram Esfandiary            6   impact the AHS finding," and then you set
 7     of Baum Hedlund, plaintiffs.                    7   forth four different sources; correct?
 8        MS. FORGIE: Kathryn Forgie on                8      A. Yes.
 9     behalf of the plaintiffs.                       9      Q. Okay. I'd like to walk through
10        MR. BAUM: Michael Baum on behalf            10   those with you today. I'm going to start at
11     of plaintiffs.                                 11   the bottom with your comment with respect to
12        THE VIDEOGRAPHER: And on the                12   the imputation methodology that was used in
13     phone?                                         13   the study. Okay?
14        MR. WOOL: David Wool from Andrus            14      A. Uh-huh.
15     Wagstaff on behalf of plaintiffs.              15      Q. And you would agree that the
16        THE VIDEOGRAPHER: Thank you.                16   investigators for the AHS cohort had used
17        MS. FORGIE: Anyone else on the              17   the same imputation method that is used in
18     phone?                                         18   the 2018 JNCI study and numerous other
19        THE VIDEOGRAPHER: Will the court            19   peer-reviewed and published epidemiological
20     reporter please swear in the witness.          20   studies of the AHS cohort; correct?
21                                                    21         MS. FORGIE: Object to the form.
22   Beate Ritz, MD, PhD,                             22         THE WITNESS: The AHS investigators
23        called as a witness, having been            23      have used this imputation to impute
24        duly sworn, was examined and                24      50-some pesticides, and they have
25        testified as follows:                       25      published mostly on those pesticides.


                                                                             3 (Pages 6 to 9)
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                                       Page 10                                            Page 12
 1      Those pesticides that are not glyphosate    1         THE WITNESS: I don't know exactly
 2      have a very different misclassification     2      whether every single author is the same
 3      structure from glyphosate.                  3      one.
 4   BY MR. LASKER:                                 4   BY MR. LASKER:
 5      Q. I understand that. I just want           5      Q. I didn't mean to say they were.
 6   to --                                          6   There's a number of the same authors.
 7      A. So the imputations work differently      7      A. A number of the same.
 8   when you have a baseline misclassification     8      Q. This study which was published
 9   that you're starting with.                     9   following peer review uses the AHS
10      Q. I understand that's your opinion.       10   imputation methodology in looking at the
11   Just to be clear, there have been numerous    11   association between non-Hodgkin's lymphoma
12   publications, epidemiological publications    12   and 26 different types of fungicides,
13   out of the AHS cohort that have used this     13   insecticides and fumigants; correct?
14   same imputation methodology; correct?         14         MS. FORGIE: Object to the form.
15         MS. FORGIE: Objection. Asked and        15         THE WITNESS: They're using the
16      answered. That's the same question you     16      same imputations, yes.
17      just asked.                                17   BY MR. LASKER:
18         You can answer it again.                18      Q. Let me -- let me mark as the next
19         THE WITNESS: It doesn't matter how      19   document in line. This is 30-3, Dr. Ritz.
20      many publications there are. Unless        20         (Exhibit Number 30-3 was marked
21      they are related to glyphosate they have   21         for identification.)
22      a very different exposure                  22   BY MR. LASKER:
23      misclassification structure.               23      Q. This is a 2013 publication in the
24   BY MR. LASKER:                                24   "American Journal of Epidemiology." The
25      Q. Okay. Let me just walk through          25   lead author is Dr. Koutros. First of all,

                                       Page 11                                            Page 13
 1   some of the studies that I've identified,      1   you would agree the "American Journal of
 2   and let's see if we can reach agreement on     2   Epidemiology" is a reputable journal;
 3   the existence of these studies. The first      3   correct?
 4   will be marked as 30-2.                        4      A. Well, it's a journal of
 5         (Exhibit Number 30-2 was marked          5   epidemiology that we use and we publish in,
 6         for identification.)                     6   yes.
 7   BY MR. LASKER:                                 7      Q. And, in fact, you've peer-reviewed
 8      Q. I know you're familiar with this         8   for this journal; correct?
 9   study.                                         9      A. Yes.
10         MS. FORGIE: How are we numbering        10      Q. It's a reputable journal; correct.
11      these?                                     11      A. It has a reputation, yes.
12         MR. LASKER: 30. That's where we         12      Q. And in this 2013 publication and
13      are in the sequential.                     13   the title is "Risk of Total Aggressive
14         MS. FORGIE: I see.                      14   Prostate Cancer and Pesticide Use in the
15   BY MR. LASKER:                                15   Agricultural Health Study," the
16      Q. The document I've handed you, 30-2,     16   investigators use the same AHS imputation
17   is a 2014 published study, "Non-Hodgkin's     17   method to look for associations between
18   lymphoma risk and insecticide, fungicide,     18   prostate cancer and 48 different pesticides;
19   fumigant use in the agricultural health       19   correct?
20   study," which was authored by a number of     20          MS. FORGIE: Object to the form.
21   the same authors of the 2018 NCI journal      21          THE WITNESS: I don't know. I
22   study; correct?                               22      haven't counted them.
23         MS. FORGIE: Objection. Misstates.       23   BY MR. LASKER:
24      Misstates the study. Also object to        24      Q. Well, it states in the -- it states
25      form. It's compound.                       25   on the -- at page 64 -- first of all, on


                                                                      4 (Pages 10 to 13)
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                                       Page 14                                             Page 16
 1   page 64 it notes that the investigators used    1   this journal? Maybe I misread that on your
 2   the same imputation -- AHS imputation           2   C.V.
 3   methodology that's used in the 2018 JNCI        3       A. No.
 4   study; correct?                                 4          MS. FORGIE: Wait. Let's wait for
 5         MS. FORGIE: Object to the form.           5       the question.
 6         THE WITNESS: I don't see that.            6          THE WITNESS: I can't remember ever
 7      Where is that?                               7       peer reviewing this journal.
 8   BY MR. LASKER:                                  8   BY MR. LASKER:
 9      Q. For participants, if you're looking       9       Q. It is a reputable cancer journal,
10   at page 64.                                    10   though; correct?
11      A. Yes.                                     11       A. I have no idea.
12      Q. In the left-hand column --               12       Q. Okay. In this article "Cancer
13      A. Oh, the Heltshe, yes.                    13   Incidence and Metolachlor Use in the
14      Q. Yes.                                     14   Agricultural Health Study, an Update," if
15      A. Mm-hmm.                                  15   you look at page 2631 right above
16      Q. So they use the same imputation          16   "Statistical analysis," the investigators in
17   methodology in this study; correct?            17   this publication with the AHS cohort also
18         MS. FORGIE: Object to the form.          18   used the same imputation methodology used in
19         THE WITNESS: Well, they use it for       19   the 2018 JNCI study; correct?
20      different pesticides.                       20          MS. FORGIE: Object to the form.
21   BY MR. LASKER:                                 21       Also take as much time as you want to
22      Q. Right. With respect to the number        22       read.
23   of pesticides on page 59 in the abstract,      23          THE WITNESS: I have to see what
24   they note that they use this imputation        24       the --
25   methodology to evaluate 48 pesticides, and     25   ///

                                       Page 15                                             Page 17
 1   that's in the abstract, the fourth line and     1   BY MR. LASKER:
 2   fifth line down; correct?                       2      Q. Note 15.
 3          MS. FORGIE: Object to the form.          3      A. Yes.
 4   BY MR. LASKER:                                  4      Q. So they use the same imputation
 5      Q. In the abstract.                          5   method in this study; correct?
 6      A. In the abstract it says "using            6         MS. FORGIE: Object to the form.
 7   Poisson regression to evaluate lifetime use     7         THE WITNESS: They use this
 8   of 48 pesticides and prostate cancer," yes.     8      imputation for metolachlor, yes.
 9      Q. Right. Thank you.                         9   BY MR. LASKER:
10          Let's move on. This is a 2015           10      Q. Let's go to the next document in
11   study. We've marked it as Exhibit 30-4.        11   line.
12          (Exhibit Number 30-4 was marked         12         (Exhibit Number 30-5 was marked
13          for identification.)                    13         for identification.)
14          THE WITNESS: By the way, there's        14   BY MR. LASKER:
15      no glyphosate in there.                     15      Q. This will be Exhibit 30-5.
16   BY MR. LASKER:                                 16         MS. FORGIE: This is 30-5?
17      Q. That's fine. 30-4 is a publication       17         MR. LASKER: 30-5.
18   by -- with a lead author of Dr. Silver.        18   BY MR. LASKER:
19   This is published in the "International        19      Q. So this is the 2015 publication
20   Journal of Cancer"; correct?                   20   "Incidence of Solid Tumors Among Pesticide
21      A. Yes.                                     21   Applicators Exposed to the Organophosphate
22      Q. It's a journal that you've               22   Insecticide Diazinon in the Agricultural
23   peer-reviewed for; correct?                    23   Health Study, an updated analysis." If you
24      A. No.                                      24   look at page 497 --
25      Q. Oh, you never peer-reviewed for          25         MS. FORGIE: Again, take your time.


                                                                       5 (Pages 14 to 17)
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                                        Page 18                                             Page 20
 1      Read as much as you need.                    1   BY MR. LASKER:
 2   BY MR. LASKER:                                  2      Q. This is an article that was
 3      Q. Under "enrollment assessment"?            3   published in the "International Journal of
 4          MS. FORGIE: Wait. 497 enrollment         4   Epidemiology" in 2016, lead author is
 5      assessment.                                  5   Dr. Koutros; correct?
 6          MR. LASKER: Yes, on the left-hand        6      A. Yes.
 7      side about two-thirds of the way down on     7      Q. And if you could look to
 8      page 197, you see "enrollment                8   page 794 -- I just can't remember if I said
 9      assessment"?                                 9   this. This is "Occupational Exposure to
10          THE WITNESS: No.                        10   Pesticides and Bladder Cancer Risk." If you
11          MS. FORGIE: No. I see "exposure         11   look on page 794, in the exposure
12      assessment."                                12   assessment. And, again, they refer in the
13          MR. LASKER: Exposure assessment.        13   text as well as in the footnote to the
14      I'm sorry. I misspoke.                      14   Heltshe paper, this study also used the same
15          MS. FORGIE: I'm sorry. I wasn't         15   imputation -- AHS imputation methodology as
16      trying to be difficult. I didn't see        16   the 2018 JNCI study; correct?
17      it.                                         17          MS. FORGIE: Object to the form
18          MR. LASKER: No, that's fine.            18      and, again, take your time to review it.
19   BY MR. LASKER:                                 19          THE WITNESS: Where was that again.
20      Q. As you can see if you look to            20   BY MR. LASKER:
21   footnote 18 which is also to the Heltshe       21      Q. Exposure assessment at the end of
22   paper and you can confirm that, but in this    22   the first paragraph.
23   2015 paper lead author Dr. Jones, they also    23      A. Oh, Heltshe, et al., yes, I see it.
24   use the same AHS imputation methodology used   24      Q. So, again, this study used the same
25   in the 2018 JNCI study; correct?               25   imputation methodology as the 2018 JNCI

                                        Page 19                                             Page 21
 1         MS. FORGIE: Object to the form.           1   study; correct?
 2         THE WITNESS: Let's see.                   2         MS. FORGIE: Object to the form.
 3   BY MR. LASKER:                                  3         THE WITNESS: Yes, they do.
 4      Q. If you look at the --                     4   BY MR. LASKER:
 5         MS. FORGIE: Wait, let her read.           5      Q. Okay.
 6         THE WITNESS: Oh, multiple                 6      A. But they find the same result as
 7      imputation. I got it. Yes. I see it.         7   usual. They only find positive associations
 8   BY MR. LASKER:                                  8   for the pesticides that are more or less not
 9      Q. So they use the same imputation           9   in use anymore, and that confirms my
10   methodology as the 2018 JNCI study; correct?   10   assessment.
11         MS. FORGIE: Object to the form.          11      Q. Let's move to the next document.
12         THE WITNESS: They use it for             12   This is Exhibit 30-7.
13      diazinon.                                   13         (Exhibit Number 30-7 was marked
14   BY MR. LASKER:                                 14         for identification.)
15      Q. This is an article that was              15   BY MR. LASKER:
16   published after peer review in the "Journal    16      Q. This is an article, lead author of
17   of Occupation of Environmental Medicine";      17   Dr. Engel.
18   correct?                                       18      A. Yes.
19      A. Correct.                                 19      Q. Entitled "Insecticide Use and
20      Q. Let's move to the next one in line.      20   Breast Cancer Risk Among Farmers' Wives in
21   This is 30-6.                                  21   the Agricultural Health Study" published in
22         (Exhibit Number 30-6 was marked          22   the "Journal of Environmental Health
23         for identification.)                     23   Perspectives"; correct?
24         MR. ESFANDIARY: Counsel, do you          24      A. Yes.
25      have extra copies for me as well?           25      Q. And if you look at page 3 -- 2 and


                                                                       6 (Pages 18 to 21)
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                                        Page 22                                            Page 24
 1   3, the second and third page of this            1          THE WITNESS: They used Heltshe,
 2   publication. It sort wraps over -- oh, no,      2      yes. Heltshe 2012.
 3   it's on page 3, bottom of the left-hand         3   BY MR. LASKER:
 4   column going to the top of the right-hand       4      Q. And you would agree that
 5   column.                                         5   independent peer review is a corner of
 6          MS. FORGIE: I'm sorry. What page         6   science in the United States and
 7       are we on now?                              7   internationally; correct?
 8          MR. LASKER: The third page, I'm          8      A. It is, but it doesn't always work.
 9       sorry. The bottom of the left-hand          9      Q. And you would agree that the peer
10       column going to the top of the             10   review process provides the intellectual
11       right-hand column.                         11   rigor required to ensure that manuscripts
12   BY MR. LASKER:                                 12   adhere to what is acceptable in the field
13       Q. In Engel publication, they also use     13   with regard to reviewing the relevant
14   the same AHS imputation methodology that was   14   literature and examining statistics and
15   used in the 2018 JNCI study; correct?          15   determining whether research protocols apply
16          MS. FORGIE: Object to the form.         16   widely accepted methods, report valid
17          THE WITNESS: They say they used         17   results, and avoid or account for biases and
18       the same imputation, but these are         18   draw conclusions appropriate to the study's
19       different individuals.                     19   findings; correct?
20   BY MR. LASKER:                                 20          MS. FORGIE: Object to the form.
21       Q. Understood. But they use the same       21          THE WITNESS: Peer review is
22   imputation methodology; correct?               22      supposed to do that, that it always
23          MS. FORGIE: Object to the form.         23      reaches that goal is a high order.
24          Take your time.                         24   BY MR. LASKER:
25          THE WITNESS: They used Heltshe          25      Q. And you are not aware in the five

                                        Page 23                                            Page 25
 1      2012, yes.                                   1   years now since the first of these
 2   BY MR. LASKER:                                  2   peer-reviewed epidemiological analyses that
 3      Q. Let's go to the next document.            3   we just walked through were published of any
 4   This is the 2017 -- this is Exhibit 30-8.       4   letter to the editor or published response
 5         (Exhibit Number 30-8 was marked           5   to any of these studies that have criticized
 6         for identification.)                      6   those studies for their use of imputation
 7         THE WITNESS: Just a second.               7   for the 37 percent of the AHS cohort that
 8         MS. FORGIE: Hold on. She's still          8   did not respond to phase 2; correct?
 9      reviewing the other one.                     9          MS. FORGIE: Object to the form.
10   BY MR. LASKER:                                 10      Are you including the AHS study?
11      Q. Exhibit 30-8; correct? And this is       11          MR. LASKER: For this purpose --
12   an article lead author Bonner entitled         12          MS. FORGIE: It wasn't clear in
13   "Occupational Exposure to Pesticides and the   13      your question.
14   Incidence of Lung Cancer in the Agricultural   14          MR. LASKER: The studies we looked
15   Health Study, published in the Journal of      15      at are not including the 2018 NCI study.
16   Environmental Health Prospectus"; correct?     16   BY MR. LASKER:
17      A. Yes.                                     17      Q. For the studies we just marked as
18      Q. And if you look to page 545 of this      18   Exhibits 30-2 to 30-8 which were first
19   publication in the middle column towards the   19   published five years ago, are you aware of
20   bottom, you can see, again, the reference to   20   any letter to the editor or published
21   Heltshe, and this publication appeared to be   21   response to any of these epidemiological
22   a publication that also used the same          22   studies that have criticized those studies
23   imputation methodology as was used in the      23   for their use of imputation method for the
24   2018 JNCI study; correct?                      24   37 percent of the AHS cohort that did not
25         MS. FORGIE: Object to the form.          25   respond to the phase 2 questionnaire?


                                                                       7 (Pages 22 to 25)
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                                       Page 26                                             Page 28
 1           MS. FORGIE: Object to the form.         1     the time of the study would have that
 2           THE WITNESS: Since I did not read       2     criticism. Glyphosate, in my mind, is
 3       all of these papers, I cannot tell you      3     the one -- is currently the one that's
 4       whether there's a letter because I          4     most affected.
 5       haven't looked them up. However, I          5   BY MR. LASKER:
 6       wouldn't be surprised if there weren't      6     Q. Is it your opinion that the studies
 7       because most of these papers did not        7   that have used imputation methodology for
 8       include glyphosate.                         8   pesticides other than glyphosate are
 9   BY MR. LASKER:                                  9   unreliable?
10       Q. In your role as the chair of the        10         MS. FORGIE: Object to the form.
11   AHS outside advisory group, you've not been    11         THE WITNESS: Again, these
12   made aware of any criticism of any of these    12     imputations work based on assumptions we
13   published studies, Exhibits 30-2 through       13     are making, and these assumptions may be
14   30-8, for their use of the AHS imputation      14     much more valid or I think they are
15   method to derive AHS exposure data; correct?   15     quite valid for any of the pesticides
16           MS. FORGIE: Object to the form.        16     where the use didn't change. For
17           THE WITNESS: This advisory group       17     example, for lindane and DDT that has
18       has not met for ten years.                 18     been mostly used in the '70s or maybe in
19   BY MR. LASKER:                                 19     the '80s. DDT was outlawed in '72. So
20       Q. You have had --                         20     for those, I have absolutely no problems
21       A. And these papers are five years         21     because what was reported at baseline is
22   old.                                           22     the use that happened, and it shouldn't
23       Q. Are you aware -- well, let me put       23     have changed after baseline. So
24   it to you this way: Have you, as the chair     24     whatever was imputed from baseline to
25   of the AHS advisory group, reached out to      25     the future was probably correct. This

                                       Page 27                                             Page 29
 1   any of the investigators, authors of these      1      is not the case when you look at a very
 2   publications, to raise questions or concerns    2      changing exposure environment especially
 3   about the use of this imputation methodology    3      one like glyphosate where use just
 4   in all of these peer-reviewed publications?     4      exploded.
 5          MS. FORGIE: Object to the form.          5   BY MR. LASKER:
 6      Asked and answered.                          6      Q. For pesticides that continue to be
 7          You can answer it again.                 7   used but where the prevalence of use did not
 8          THE WITNESS: Well, the most              8   increase dramatically, do you have a -- do
 9      problem I have with the method is in         9   you believe that the use of the imputation
10      terms of glyphosate, and most of these      10   methodology for those pesticides is
11      papers do not refer to glyphosate.          11   unreliable?
12   BY MR. LASKER:                                 12          MS. FORGIE: Objection. Asked and
13      Q. Okay. Let me clarify that. Is it         13      answered.
14   your opinion that the imputation methodology   14          You can answer it again.
15   used in the AHS for phase 2 non-responders     15          THE WITNESS: Yes. As much as you
16   is unreliable in general, or is your           16      can establish in a baseline whether the
17   criticism specific to the use of the           17      answers are error free or not and then
18   imputation method for glyphosate?              18      use that baseline to predict the future
19          MS. FORGIE: Object to the form.         19      and the future hasn't changed much in
20          THE WITNESS: My criticism is that       20      use, you have a reliable method. And I
21      this imputation method does not take        21      think for most of these pesticides they
22      into account time varying exposures,        22      had a reliable method because probably
23      especially dramatically timed varying       23      half of them weren't even used anymore
24      exposures. So any pesticide that falls      24      after baseline, so they already had
25      under the category of huge increase over    25      everything they needed. All they had to


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                                        Page 30                                            Page 32
 1      do is add no exposure. So it's very          1   BY MR. LASKER:
 2      easy to have a reliable imputation           2      Q. So 30-3, let's look at 30-3. That
 3      method when you basically have no            3   would be 2013.
 4      additional exposure coming, right? This      4         MS. FORGIE: Hold on a second.
 5      is very different if an exposure kind of     5      Let's make sure we've got the right
 6      trickles along and then all of a sudden      6      ones. Yeah, okay.
 7      rises.                                       7   BY MR. LASKER:
 8   BY MR. LASKER:                                  8      Q. That is the article "Risk of Total
 9      Q. I understand that. I just want to         9   and Aggressive Prostate Cancer and Pesticide
10   be clear. Pesticides other than glyphosate     10   Use in the Agricultural Health Study." If
11   where the use was fairly stable through        11   you can look to the supplemental tables that
12   phase 1 and phase 2, do you believe that the   12   are provided with the study --
13   use of the imputation methodology was          13         MS. FORGIE: Do you have a
14   reliable?                                      14      page number?
15          MS. FORGIE: Objection. Asked and        15         MR. LASKER: They're at the end.
16      answered.                                   16         MS. FORGIE: Oh, supplemental. I
17          You can answer it again.                17      didn't hear that.
18          THE WITNESS: Imputation works best      18   BY MR. LASKER:
19      when there's no time varying factor         19      Q. If you go to the web Table 2 at the
20      unless you can actually account for the     20   end in the second page, that's web Table 1.
21      time varying factor.                        21   You can look at that as well.
22   BY MR. LASKER:                                 22         MS. FORGIE: But take your time and
23      Q. Okay. Now, a number of these             23      look at whatever you need to look at.
24   published studies that we just looked at do    24   BY MR. LASKER:
25   use the imputation methodology with respect    25      Q. And --

                                        Page 31                                            Page 33
 1   to glyphosate; correct?                         1          MS. FORGIE: Wait. She's still
 2         MS. FORGIE: Objection. Object to          2      reviewing.
 3      the form.                                    3          MR. LASKER: That's fine.
 4         THE WITNESS: They're using the            4          THE WITNESS: Yeah, what table?
 5      same imputation method for all of the        5   BY MR. LASKER:
 6      pesticides, yes.                             6      Q. It's Table 2, web Table 2. It has
 7   BY MR. LASKER:                                  7   a list of the different pesticides that are
 8      Q. And in a number of these                  8   being studied for prostate cancer.
 9   publications actually use that imputation       9      A. Uh-huh.
10   methodology to report findings, or in this     10      Q. And the second page you can see
11   case, lack of associations for glyphosate;     11   that they use imputation method to analyze
12   correct?                                       12   whether there's association between prostate
13         MS. FORGIE: Objection. Object to         13   cancer and glyphosate in this paper;
14      the form.                                   14   correct?
15         THE WITNESS: I would have to             15      A. The second -- are you referring to
16      review all of the results.                  16   the glyphosate?
17   BY MR. LASKER:                                 17      Q. Yes.
18      Q. Let's take a look and go back to         18      A. Yeah, okay. Yeah.
19   them. If you could look at the paper by --     19          MS. FORGIE: What's the question?
20   there's two papers by Koutros.                 20   BY MR. LASKER:
21         MS. FORGIE: Two papers by who?           21      Q. My question is in the 2013 Koutros
22         MR. LASKER: Koutros. 2013 and            22   paper, they used the imputation method to
23      2016.                                       23   look at the association between glyphosate
24         MS. FORGIE: So 30-6 and 30-3.            24   and prostate cancer; correct?
25         MR. LASKER: Yes.                         25      A. Yes, that's what they do.


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                                       Page 34                                              Page 36
 1       Q. If you can go to 30-6, which is the      1   lung cancer.
 2   Koutros 2016 paper, "Occupational Exposure      2          MS. FORGIE: Hold on a second.
 3   to Pesticides and Bladder Cancer Risks," and    3      Sorry.
 4   if you look on page 796, Table 2, they have     4   BY MR. LASKER:
 5   a listing of the different pesticides that      5      Q. And again there is supplemental
 6   they were looking at with respect to bladder    6   materials in that -- for that publication
 7   cancer; correct?                                7   with additional analyses. If you look at
 8       A. Yep.                                     8   table S-3 and the second page of table S-3
 9       Q. And in the Koutros 2016                  9   in the Bonner 2017 publication, they use the
10   publication, they use the imputation method,   10   same AHS imputation methodology to look for
11   the AHS imputation method to look for an       11   associations between glyphosate use and lung
12   association between glyphosate exposure and    12   cancer at various exposure quartiles;
13   bladder cancer risk; correct?                  13   correct?
14          MS. FORGIE: Take your time.             14          MS. FORGIE: Object to the form.
15          THE WITNESS: For every use, yes.        15          THE WITNESS: Yes, they are showing
16   BY MR. LASKER:                                 16      this, comparing non-exposed to exposed.
17       Q. And they also have on Table 3, and      17   BY MR. LASKER:
18   this is stratified by smoking status for       18      Q. And, of course, the 2018 JNCI study
19   reasons specific to the publication --         19   of glyphosate-based herbicides and cancers
20          MS. FORGIE: It was what? I didn't       20   including non-Hodgkin's lymphoma, that used
21       hear that word.                            21   the same imputation methodology in looking
22          MR. LASKER: Stratified by smoking       22   at the association between glyphosate and
23       status.                                    23   various types of cancers; correct?
24          MS. FORGIE: Thank you.                  24          MS. FORGIE: Object to the form.
25   ///                                            25          THE WITNESS: They always use the

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 1   BY MR. LASKER:                                  1     same imputation method. That doesn't
 2      Q. If you look at Table 3, the second        2     make it right.
 3   page on page 799 of that table, you can see     3   BY MR. LASKER:
 4   they also use the imputation method to look     4     Q. But we have four different
 5   at associations for glyphosate in the dose      5   peer-reviewed publications now where the AHS
 6   response analysis; correct?                     6   imputation methodology has been used in
 7      A. Yes. And they find a significant          7   looking at associations between glyphosate
 8   trend for never smokers.                        8   and various kinds of cancer; correct?
 9      Q. Okay. And do you find that                9         MS. FORGIE: Object to the form.
10   association to be reliable --                  10         THE WITNESS: Most of these
11      A. No, absolutely not.                      11     glyphosate results were in supplements.
12         MS. FORGIE: Wait, wait. We have          12     The papers refer to their positive
13      to wait for the question. I'm sorry.        13     findings. They give the negative
14         What was the question?                   14     findings which is very appropriate in a
15   BY MR. LASKER:                                 15     supplement, and generally, you do not
16      Q. She made a comment and I asked           16     generate in science a big brouhaha over
17   whether she was relying upon a finding for     17     nothing. You always generate a brouhaha
18   glyphosate in that study, and that was her     18     when there is actually a positive
19   answer.                                        19     finding and somebody thinks you
20         MS. FORGIE: Objection. I didn't          20     shouldn't have a positive finding. For
21      hear a question and answer.                 21     all the studies that were done bad
22   BY MR. LASKER:                                 22     enough so we have no findings, nobody
23      Q. And then Bonner 2017, I think that       23     complains, and that's a problem.
24   is 30-8. If you look at -- this is looking     24   BY MR. LASKER:
25   at pesticide exposure and the incidence of     25     Q. Let me just ask this question, I


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 1   just want to make sure I'm clear on this.       1      different diseases as we all know. So
 2   There are four peer-reviewed publications       2      we should not say any pesticide in any
 3   that have used the AHS imputation               3      cancer. That's what these colleagues
 4   methodology in looking at associations          4      actually do really well. They pick out
 5   between glyphosate and various types of         5      the agents and the cancers that they
 6   cancer; correct?                                6      have a prior hypothesis for. However,
 7          MS. FORGIE: Object to the form.          7      they are also giving you in addition
 8          THE WITNESS: These studies did not       8      everything else they have, but that is
 9      target glyphosate. They are providing        9      never a focus of these papers. That is
10      estimates for glyphosate in supplements     10      just for transparency and for
11      or in additional analyses. They all         11      documentation in the literature, but
12      were after a different kind of              12      nobody ever focuses on that.
13      pesticide, and that's for a good reason     13   BY MR. LASKER:
14      because they either showed prior results    14      Q. Just so I understand for these
15      for these kind of agents and they wanted    15   three papers it is your understanding, and
16      to see whether the follow-up showed the     16   these are the two papers by the lead author
17      same positive associations and just in      17   Dr. Koutros in 2013 and 2016 and the
18      the -- in the publication they provide      18   publication by Dr. Bonner in 2017 that in
19      the results for everything else, but        19   those publications they are focused on
20      they're focusing on different pesticides    20   specific pesticides at the outset of their
21      and they have a hypothesis for these        21   analysis but then they just reported on
22      other pesticides where the agents are       22   other pesticides as additional information?
23      related to the cancer. They did not         23         MS. FORGIE: Object to the form.
24      have the hypothesis that glyphosate was     24         THE WITNESS: I did not read these
25      causing prostate cancer, that glyphosate    25      papers; so I don't know exactly what

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 1     was causing lung cancer, that glyphosate      1      they're stating. But from what I know
 2     was causing bladder cancer. Therefore,        2      about the papers I read in the AHS,
 3     it was not the focus so nobody would          3      that's what they are usually doing when
 4     make that a focus of their review. The        4      they are writing these papers. Yes,
 5     focus of the review would be on the           5      they have specific hypotheses, and they
 6     hypothesis, and they tested the               6      don't say I'm testing 52 associations.
 7     hypothesis for different pesticides.          7   BY MR. LASKER:
 8   BY MR. LASKER:                                  8      Q. Now, as you've already said, your
 9     Q. Just to be clear and the documents         9   concern about glyphosate and the use of the
10   will speak for themselves, putting aside the   10   imputation methodology was the increase in
11   2018 JNCI study, the three other studies       11   glyphosate use -- the significant increase
12   that looked at a glyphosate using the same     12   in glyphosate use between phase 1 and phase
13   imputation methodology were all studies like   13   2 of the questionnaire; correct?
14   the 2014 publication on fungicides that        14         MS. FORGIE: Object to the form.
15   looked at a broad range of different           15         THE WITNESS: Actually, it's at the
16   pesticides to determine whether there was      16      end of the intake questionnaire at
17   associations with any of the pesticides that   17      enrollment.
18   they examined; correct?                        18   BY MR. LASKER:
19         MS. FORGIE: Object to the form.          19      Q. Through the phase 2 period?
20         THE WITNESS: No, these studies           20      A. Yes.
21     usually have one or two pesticides in        21      Q. What is your understanding of the
22     mind because there is prior literature       22   reason for the increase in glyphosate use
23     that connects certain pesticide to a         23   during this time period?
24     certain cancer because not every cancer      24      A. The GMO crop use.
25     is the same; right? Cancer is 50, 100        25      Q. We're talking about Roundup Ready


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                                       Page 42                                             Page 44
 1   crops; right?                                   1   BY MR. LASKER:
 2      A. Yes.                                      2      Q. This is, for the record, an article
 3      Q. Which Roundup Ready crops were            3   or study by Charles M. Benbrook "Trend in
 4   introduced during this period?                  4   Glyphosate Use in the United States and
 5      A. Well, soy and what else? There was        5   Globally." This is an article you cited in
 6   cotton. There was corn, and there was one       6   your supplemental expert report; correct?
 7   other that I always blank on. What was it?      7      A. Uh-huh, yes.
 8      Q. I actually think there's only three       8      Q. At page 3 of this Benbrook article,
 9   but if you --                                   9   there is a time trend that looks at the
10          MS. FORGIE: Wait, wait.                 10   percentage of acres treated with glyphosate
11          THE WITNESS: There's one more but       11   by year for soybean; correct?
12      I always blank on it.                       12      A. Yes, for soybean.
13   BY MR. LASKER:                                 13      Q. And soybean -- soybeans are --
14      Q. Did the introduction of Roundup          14   soybeans is, soybeans are -- soybeans is one
15   Ready crops result in any changes in how       15   of the leading crops grown by the pesticide
16   farmers applied glyphosate?                    16   applicators in the AHS cohort; correct?
17          MS. FORGIE: Object to the form          17         MS. FORGIE: Objection. Object to
18      beyond the scope of the report.             18      the form.
19          THE WITNESS: It definitely              19         THE WITNESS: In Iowa and North
20      increased the amounts and also probably     20      Carolina?
21      changed the way they were applied           21   BY MR. LASKER:
22      because you now don't have to take          22      Q. Well, for example, in Iowa roughly
23      care -- very much care of not spraying      23   80 percent of the cohort members grew
24      the good plants, right? You can             24   soybeans; correct?
25      actually spray them in a very -- in a       25         MS. FORGIE: Object to the form.

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 1      massive way.                                 1        THE WITNESS: That may be, but they
 2   BY MR. LASKER:                                  2     have varied crop use; so it's not just
 3      Q. And it would be fair to say that,         3     soybeans.
 4   would it not, that the increase in              4   BY MR. LASKER:
 5   glyphosate use from the end of the phase 1      5     Q. And by 2005 as reported in
 6   questionnaire period through phase 2 was        6   Benbrook, we know that virtually all of the
 7   almost entirely due to the increased use on     7   AHS cohort members who grew soybeans would
 8   those three crops soybean, corn, and cotton;    8   have had exposure to glyphosate; correct?
 9   correct?                                        9        MS. FORGIE: What was the date you
10          MS. FORGIE: Object to the form.         10     gave?
11          THE WITNESS: An overwhelming            11        MR. LASKER: By 2005.
12      percentage is probably due to this, but     12        MS. FORGIE: Would you read that
13      that doesn't mean it wasn't used for        13     question back, please.
14      other purposes as well because as we        14        (Record read by the reporter as
15      know when farmers have one pesticide in     15        follows:
16      their hand, they use it for everything.     16           "QUESTION: And by 2005 as
17      It's like a hammer for a carpenter.         17        reported in Benbrook, we know
18      They use it on everything.                  18        that virtually all of the AHS
19   BY MR. LASKER:                                 19        cohort members who grew soybeans
20      Q. And let's mark as the next document      20        would have had exposure to
21   in line the Benbrook paper which you cited     21        glyphosate; correct?"
22   in your expert report. This will be            22        MS. FORGIE: Object to the form.
23   Exhibit 30-9.                                  23        THE WITNESS: Actually, we don't
24          (Exhibit Number 30-9 was marked         24     know that because he's not referring to
25          for identification.)                    25     the AHS.


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                                        Page 46                                            Page 48
 1   BY MR. LASKER:                                  1   BY MR. LASKER:
 2      Q. Yes, but in his table on Figure 2,        2      Q. Okay. But to the extent that the
 3   he reports that 90 percent of all soybeans      3   individuals in the cohort continued to be
 4   farmed in the United States --                  4   farmers, and they were farming their own
 5          MR. BAUM: Figure 2?                      5   land, if they were farming soybeans in 2005,
 6          MR. LASKER: I'm sorry. Figure 1.         6   we can say given these statistics in
 7      Figure 1A.                                   7   Benbrook of the almost 90 percent usage of
 8   BY MR. LASKER:                                  8   glyphosate on soybeans, that those Farmers
 9      Q. 90 percent of all soybeans farmed         9   would have been applying glyphosate;
10   in the United States by 2005 was being --      10   correct?
11   were being treated with glyphosate; correct?   11         MS. FORGIE: Object to the form.
12          MS. FORGIE: Object to the form.         12      Calls for speculation.
13          THE WITNESS: It's per acres. I          13         THE WITNESS: We might be able to
14      don't know whether the acres refer to       14      say that for 2005, but we might not be
15      all soybeans other than in Iowa. This       15      able to say that for 200 -- '92 through
16      is the U.S.                                 16      2005 because there's a rise, and we
17   BY MR. LASKER:                                 17      absolutely don't know when the farmers
18      Q. Right. In the United States,             18      started using.
19   90 percent of all acres of soybeans were       19   BY MR. LASKER:
20   being treated with glyphosate; correct?        20      Q. We would know that a soybean farmer
21          MS. FORGIE: Object to the form.         21   who was still farming in 2005 would likely
22   BY MR. LASKER:                                 22   have exposure to glyphosate regardless of
23      Q. By June, 2005.                           23   whether they filled out a phase 2
24      A. Probably 80 or 90.                       24   questionnaire; correct?
25      Q. And for a farmer who was growing         25         MS. FORGIE: Object to the form.

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 1   soybeans during this phase 2 period, given      1          THE WITNESS: I would not say so.
 2   this high prevalence of glyphosate use on       2      Again, he might have given the equipment
 3   soybeans, we can have fairly high confidence    3      to his son to now spray or rented it out
 4   that they would have been using glyphosate;     4      because we know that farming practices
 5   correct?                                        5      with GMOs changed quite a bit, and, you
 6          MS. FORGIE: Object to the form.          6      know, you might hire a little airplane
 7          THE WITNESS: That would depend on        7      to fly over and spray instead of going
 8       whether the farmer applied himself or       8      around with your backpack sprayer.
 9       hired a company to apply or hired farm      9          MS. FORGIE: Were you finished?
10       workers to apply.                          10          THE WITNESS: Uh-huh.
11   BY MR. LASKER:                                 11   BY MR. LASKER:
12       Q. Sure. But for the AHS cohort we're      12      Q. To the extent that the AHS cohort
13   dealing with pesticide applicators by          13   member continued to be farming his own land
14   definition; correct?                           14   and he was a soybean farmer, we would have
15          MS. FORGIE: Object to the form.         15   fairly strong confidence that that soybean
16          THE WITNESS: We are dealing with        16   farmer was exposed to glyphosate in 2005
17       pesticide applicators at enrollment. We    17   whether or not they filled out a phase 2
18       are not dealing with pesticide             18   questionnaire or not; correct?
19       applicators necessarily at follow-up.      19          MS. FORGIE: Object to the form.
20       They might be retired. They might have     20      Asked and answered.
21       changed their farming practices. They      21          You can answer it again.
22       may have hired people to farm for them.    22          THE WITNESS: You can make a strong
23       All of these are very relevant             23      guess, but you wouldn't know.
24       questions.                                 24   BY MR. LASKER:
25   ///                                            25      Q. And the -- given that fact that one


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 1   variable whether or not a cohort member        1      a lot of different assumption. They can
 2   farmed soybeans would allow for a fairly       2      make the assumption that that farmer
 3   simple imputation into phase 2 for whether     3      must have switched in 1995 straight
 4   or not that farmer was exposed to              4      away, was exposed for 10 years until
 5   glyphosate, wouldn't it?                       5      2005, or he switched over in 2004 or '05
 6          MS. FORGIE: Object to the form.         6      and was exposed for one year. That
 7          THE WITNESS: In fact, it wouldn't       7      makes a big difference in intensity
 8      unless you are actually having data for     8      rating.
 9      the whole period prior -- between the       9   BY MR. LASKER:
10      first and the second phase, and they       10      Q. Let's break this out. I appreciate
11      didn't have that data. They only had       11   that. For purposes of -- let's talk about
12      data for the last year. So you have no     12   ever never first, and then we'll get to
13      idea when the farmer changed, and you      13   duration, intensity, days of use. For
14      may misclassify this exposure in either    14   purposes of ever never only, the imputation
15      way. You may call them exposed and he      15   method for a soybean farmer, for soybeans as
16      wasn't until 2005 and he switched over     16   the variable, would allow you to determine
17      in 2005. You wouldn't know. Or you         17   that the soybean farmer who didn't fill out
18      could call him unexposed and he actually   18   the phase 2 questionnaire would have
19      switched in 1996 and you're missing ten    19   exposure to glyphosate, but if I understand
20      years of exposure.                         20   you correctly, your concern is you wouldn't
21   BY MR. LASKER:                                21   know how much exposure?
22      Q. I'm talking about I know there's        22          MS. FERGIE: Object to the form.
23   other issues you have about the initial       23      A. You wouldn't know how much; you
24   questionnaire and exposure classification,    24   wouldn't know how long, or and you wouldn't
25   but for purposes of imputation in             25   know whether he was really the one when they

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 1   determining whether or not a farmer who was    1   switched over to GMOs was the main
 2   farming in 2005 but did not fill out that      2   applicator because he didn't report it to
 3   questionnaire, if they're a soybean farmer,    3   you.
 4   the imputation of ever exposure for            4       Q. Now, with respect to the issue of
 5   glyphosate is pretty simple, isn't it?         5   how often a farmer or a cohort member would
 6         MR. BAUM: Object to the form.            6   apply glyphosate, we already discussed this
 7      Asked and answered.                         7   and Benbrook discusses it as well. With the
 8         You can answer it -- wait, let me        8   introduction of Roundup Ready technology,
 9      finish.                                     9   there was a -- sort of a consistent change
10         You can answer it again.                10   in how glyphosate could be used on those
11         THE WITNESS: So the worst way of        11   crops; correct?
12      imputing is ever never. They fairly        12          MS. FORGIE: Object to the form.
13      ever show ever never tables. You saw       13          THE WITNESS: There were
14      that they showed quartiles and they used   14       prescriptions of how they should be
15      intensity scores. And these intensity      15       used, yes.
16      scores are made out of duration            16   BY MR. LASKER:
17      variables and variables of how much they   17       Q. And, for example, in the Benbrook
18      use protective equipment, et cetera.       18   paper on page 10 in the left-hand
19      And that they imputed. They imputed        19   column with respect to -- at the bottom it
20      duration. They have no idea if you         20   talks about the impact of GEHT technology.
21      interviewed somebody in 1993 who does      21   It's talking about Roundup Ready crops;
22      not report glyphosate use, is a soybean    22   correct? The bottom of --
23      farmer and in 2005 is not interviewed.     23       A. Yes, yes.
24      They impute assuming they know when this   24       Q. So the development and marketing of
25      farmer switched over, and they can make    25   GE Roundup Ready crops fundamentally changed


                                                                     14 (Pages 50 to 53)
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                                       Page 54                                              Page 56
 1   how crop farmers could apply glyphosate;        1   farmers are now using glyphosate on Roundup
 2   correct?                                        2   Ready crops, and as you stated, there is a
 3      A. Yes, that's what it says.                 3   pretty standard change in how glyphosate
 4      Q. Before Roundup Ready technology,          4   would be applied; correct?
 5   farmers could spray glyphosate prior to crop    5         MS. FORGIE: Object to the form.
 6   emergence for early season weed control or      6         THE WITNESS: We would know it for
 7   after harvest to clean up late season weeds;    7      a 12-month period, and now we have to
 8   correct?                                        8      impute everything between baseline and
 9      A. Yes, that's what's it says.               9      that period not knowing when this
10      Q. With Roundup Ready crops,                10      started.
11   glyphosate can also be sprayed one to three    11   BY MR. LASKER:
12   times or more after the crop emerged leaving   12      Q. Okay. So that deals with duration.
13   the crop unharmed but controlling all          13   I understand that. But as far as the days
14   actively growing weeds; correct?               14   of use then in that reference year, we would
15      A. Correct.                                 15   have information based upon the fact that
16      Q. So for a soybean farmer who is           16   soybean farmers farming Roundup Ready crops
17   continuing to farm during that phase 2         17   would be applying glyphosate following these
18   period, we not only would know that that       18   guidelines; correct?
19   farmer likely is using glyphosate, but we      19      A. Well, we hope that farmers follow
20   also would have a pretty consistent            20   guidelines. They don't always do.
21   understanding of the change of use in          21      Q. Right. Then with respect to the
22   glyphosate; correct?                           22   issue of intensity factors, one of the
23         MS. FORGIE: Object to the form.          23   issues there is how the pesticide is
24         THE WITNESS: Only if they had            24   applied; correct?
25      asked about it, and they didn't.            25      A. That is one way, yes.

                                       Page 55                                              Page 57
 1   BY MR. LASKER:                                  1      Q. And with Roundup Ready crops,
 2      Q. Okay. Well, regardless -- when you        2   again, as you mentioned that allows farmers
 3   say "they asked about it," you're talking       3   to apply glyphosate, and the weed management
 4   about the --                                    4   guidelines talk about the fact that you can
 5      A. In the follow-up question --              5   apply the pesticide in a different way than
 6         MS. FORGIE: Wait, wait, there's           6   you did before because of the fact that
 7      got to be questions and answers.             7   they're Roundup Ready crops; correct?
 8   BY MR. LASKER:                                  8          MS. FORGIE: Object to the form.
 9      Q. With respect to the -- I understand       9          THE WITNESS: They are most likely
10   whatever is in the questionnaire, I'm          10      differences in application. Whether or
11   talking about what actually would be           11      not they increase or decrease exposure
12   happening with these farmers. One of the       12      is another question because you also
13   questions was how many days per year per use   13      have to get the glyphosate ready by
14   in that reference year for phase 2; correct?   14      mixing, and you have to also clean the
15         MS. FORGIE: Object to the form.          15      equipment, and all of these are heavy
16         THE WITNESS: It asked the same           16      duty exposure scenarios.
17      questions as at baseline but only           17   BY MR. LASKER:
18      referred to about a 12-month period,        18      Q. And that would be a change that
19      yes.                                        19   would be seen in the 63 percent of the
20   BY MR. LASKER:                                 20   cohort who are soybean farmers who are now
21      Q. And for farmers who farm Roundup         21   farming with Roundup Ready crops who would
22   Ready crops and, of course, we have            22   see how that impacts the different ways that
23   63 percent of the cohort who responded to      23   they apply the pesticide; correct?
24   the phase 2 questionnaire, we would -- if      24          MS. FORGIE: Object to the form.
25   those 63 percent, we would see that those      25          THE WITNESS: I don't understand


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                                        Page 58                                            Page 60
 1      the question.                                1      against which they have been warned
 2   BY MR. LASKER:                                  2      throughout their lives like the OPs that
 3      Q. We have information from the              3      are neurotoxic and that make them feel
 4   63 percent who filled out the questionnaire     4      bad. So whatever protective equipment
 5   about these intensity factors, what             5      they are reporting, they are most likely
 6   protective equipment gear they used, how        6      reporting for the most toxic pesticide.
 7   much they mixed the pesticide, all of those     7   BY MR. LASKER:
 8   questions were asked, and for the 63 percent    8      Q. All right. So previously you had
 9   of the cohort we would have that                9   stated -- the record will reflect if it's
10   information; correct?                          10   correct or not, that you thought the farmers
11         MS. FORGIE: Object to the form.          11   would be reporting their application method,
12         THE WITNESS: In fact, we might           12   their protective gear for the pesticide they
13      not, and the reason is that this            13   used the most or the pesticide that's most
14      question about protective gear and          14   toxic, and now it's your opinion that they
15      equipment was asked for all pesticides,     15   would be reporting their protective
16      not specifically for glyphosate. So we      16   equipment only for the pesticide that they
17      have absolutely no idea what they did       17   think is most toxic; is that correct?
18      with glyphosate.                            18         MS. FORGIE: Objection.
19   BY MR. LASKER:                                 19      Mischaracterizes her testimony.
20      Q. But to the extent that we have           20         THE WITNESS: It is whatever they
21   information and that this is, I take it, an    21      remember using it for, and my guess is
22   issue that you would have for all pesticides   22      that what they remember the best is the
23   with respect to the information on foot        23      most toxic and/or the most used.
24   protective gear and mixing within the AHS;     24   BY MR. LASKER:
25   correct?                                       25      Q. To the extent that they're

                                        Page 59                                            Page 61
 1         MS. FORGIE: Object to the form.           1   reporting their protective equipment and
 2         THE WITNESS: Yes and no. Because          2   application methods with respect to the
 3     you can imagine that when you ask these       3   pesticide that's most used for a Roundup
 4     questions, the farmer will refer to the       4   Ready farmer, then that information that's
 5     most used pesticide.                          5   provided for the 63 percent that filled out
 6   BY MR. LASKER:                                  6   the phase 2 questionnaire would reflect that
 7     Q. Okay.                                      7   change that occurred when they started
 8     A. Or the most toxic.                         8   farming with Roundup Ready crops; correct?
 9     Q. For the most used pesticide I think        9         MS. FORGIE: Object to the form.
10   we can be -- I think you've said this. The     10         THE WITNESS: Well, again, they
11   most used pesticide certainly during this      11      only reported for one year.
12   phase 2 period was glyphosate; correct?        12   BY MR. LASKER:
13         MS. FORGIE: Objection to the form.       13      Q. Right. And for that one year the
14         THE WITNESS: It is -- glyphosate         14   information that's provided with respect to
15     is certainly highly used, but it is          15   application method, protective gear would
16     never the only pesticide any of these        16   reflect their application method for
17     farmers used.                                17   glyphosate; correct?
18   BY MR. LASKER:                                 18         MS. FORGIE: Objection.
19     Q. I understand --                           19      Mischaracterizes her testimony, asked
20         MS. FORGIE: Wait, let her finish.        20      and answered.
21         THE WITNESS: Farmers expect              21         THE WITNESS: I cannot speculate
22     glyphosate that's a weedkiller and not       22      about this because we all know that
23     acutely toxic to them or doesn't induce      23      these farmers get more and more
24     any symptoms, they don't expect that to      24      information about the hazards of
25     make them as sick as other pesticides        25      pesticides. So they may have at any


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 1       point in time changed their application     1     difficult one to answer, although my
 2       methods and/or protective equipment use     2     guess is since these are trained
 3       and we don't know it because it's only      3     pesticide applicators, they are trained
 4       reported for the last year. Especially      4     in which pesticides to recognize as most
 5       the ones in the AHS study because they      5     toxic and acutely toxic and also where
 6       are constantly bombarded with               6     they warned you should be wearing
 7       information from the study about the        7     protective equipment, where other
 8       hazards of pesticides. So we have no        8     pesticides may not be considered as
 9       idea who changed what.                      9     toxic and so they are not using the same
10   BY MR. LASKER:                                 10     precautions.
11       Q. But while -- am I correct in my         11   BY MR. LASKER:
12   understanding, though, that you believe        12     Q. Do you know how these pesticide
13   while this is speculation on your part, that   13   applicators were trained with respect to
14   the information would be unreliable for        14   what protective gear to use in connection
15   glyphosate but not unreliable for other        15   with which pesticides?
16   pesticides?                                    16     A. That is what they had to answer
17          MS. FORGIE: Objection.                  17   during their application exam.
18       Mischaracterizes the testimony, asked      18     Q. That wasn't my question. My
19       and answered.                              19   question is do you know how these farmers
20          THE WITNESS: I would have to            20   were trained with respect to what protective
21       answer that for every single pesticide     21   gear they should wear with respect to which
22       because every pesticide has a different    22   pesticide?
23       scenario, just like every cancer is not    23         MS. FORGIE: Objection. Asked and
24       the same cancer.                           24     answered.
25   ///                                            25         You can answer it again.

                                        Page 63                                             Page 65
 1   BY MR. LASKER:                                  1         THE WITNESS: I would imagine that
 2      Q. So with respect to this concern           2      they did; otherwise, I would think that
 3   that you have for the imputation                3      these Ag Health specialists didn't do
 4   methodology, this is a concern that is for      4      their jobs.
 5   all pesticides, not just glyphosate; is that    5   BY MR. LASKER:
 6   correct?                                        6      Q. I'm not asking the question
 7      A. That's not what I said.                   7   correctly. I'm sorry. I'm not asking you
 8      Q. That's why I'm asking the question.       8   whether or not these people did receive
 9          MS. FORGIE: So wait. Let's get           9   training. My question is do you, Dr. Ritz,
10      the question.                               10   know what the training was that they
11   BY MR. LASKER:                                 11   received, for example, with respect to what
12      Q. Let me ask the question again. Am        12   protective gear you should wear while
13   I correct in my understanding, maybe I'm       13   applying glyphosate?
14   not, of your last answer that your concern     14         MS. FERGIE: Objection. Asked and
15   about the fact that these farmers could be     15      answered.
16   changing their application methods or          16         You can answer.
17   their -- over time, is that a concern that     17      A. I was not part of that field work
18   is unique to glyphosate, or do you think       18   of the AHS study, so I wouldn't know that
19   that applies to all the pesticides where       19   exactly. But I would imagine that the Ag
20   there's imputed information in the AHS         20   Health educators are not different in
21   study?                                         21   California from Iowa and North Carolina in
22          MS. FORGIE: Object to the form.         22   that they are doing their job, which is to
23      Also asked and answered.                    23   teach these people exactly about the hazards
24          You can answer it again.                24   of individual pesticides because they are
25          THE WITNESS: It will be a               25   also teaching them what pesticide to use for


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 1   what purpose and then to teach them also how    1   what was done. So in the AHS they had the
 2   to protect themselves.                          2   phase 1 survey which was from 1993 to 1997,
 3      Q. And do you have any knowledge --          3   and they obtained questionnaire responses
 4         MS. FORGIE: When you get -- we've         4   from 54,251 members of the cohort; correct?
 5      been going over an hour. When it's           5          MS. FORGIE: I object to the form,
 6      convenient for you I'd like to take a        6      and I object to the use of this that she
 7      biology break.                               7      has not reviewed, and it is drawn by
 8         MR. LASKER: Let me just finish            8      counsel.
 9      this.                                        9   BY MR. LASKER:
10         MS. FORGIE: Of course.                   10      Q. Dr. Ritz?
11   BY MR. LASKER:                                 11          MS. FORGIE: Wait. Give her a few
12      Q. Okay. Do you have in California or       12      minutes to look at it, please.
13   elsewhere, I don't care where it is, do you    13          MR. LASKER: Sure.
14   have an independent knowledge, Dr. Ritz, as    14          MS. FORGIE: Thanks.
15   to what instructions are for pesticide         15          THE WITNESS: So this shows that
16   applicators with respect to the protective     16      exposure data from both phases were used
17   gear to be used while applying glyphosate to   17      to impute exposure data on individuals
18   Roundup Ready crops?                           18      who did not respond to phase 2, yes.
19         MS. FORGIE: Object to the form.          19   BY MR. LASKER:
20         You can answer.                          20      Q. So I just want to walk through so
21         THE WITNESS: I wouldn't know             21   other people can follow this. I know you
22      exactly, but my guess would be that you     22   understand this. I think I do. But the
23      use the usual precautions but not           23   judge and the jury may have some difficulty.
24      necessarily a respirator or any             24          MS. FORGIE: You meant me, didn't
25      equipment that you would want to use for    25      you?

                                        Page 67                                            Page 69
 1      highly volatile pesticides. It's more        1   BY MR. LASKER:
 2      the general protective gear.                 2      Q. We have the phase 1 survey from
 3          MR. LASKER: We can take a break.         3   1993 to 1997 and questionnaires were filled
 4          MS. FORGIE: Thank you.                   4   out by 54,251 members of the cohort;
 5          THE VIDEOGRAPHER: We are off the         5   correct?
 6      record at 2:05 p.m.                          6          MS. FORGIE: Object to the form and
 7          (Recess taken from 2:05 p.m.             7      the dates on there.
 8          to 2:39 p.m.)                            8          THE WITNESS: In that time period?
 9          THE VIDEOGRAPHER: We are back on         9      Well, there were actually more
10      the record at 2:39 p.m.                     10      responses, but those were the ones, I
11   BY MR. LASKER:                                 11      believe, that are used most of the time
12      Q. Dr. Ritz, welcome back. We've been       12      in the analyses because they clean out
13   talking about the imputation method used in    13      people from -- they drop people from
14   the AHS, and I want to just make sure we       14      analyses because they already had either
15   have a common framework so everybody sort of   15      disease at baseline or they missed other
16   schematically understands what was done. So    16      variables.
17   I created a sort of a visual. If I could,      17   BY MR. LASKER:
18   I'd like to walk through this with you.        18      Q. And then in the phase 2 survey as
19          (Exhibit Number 30-10 was               19   we've discussed, there were 63 percent of
20          marked for identification.)             20   that group or 34,698 who filled out
21   BY MR. LASKER:                                 21   questionnaire responses in that phase 2
22      Q. I understand that you have               22   survey which was given in that 1999 to 2005
23   criticisms of how the methodology worked       23   time period; correct?
24   with respect to glyphosate, but I wanted to    24          MS. FORGIE: Again, I object to the
25   make sure we have a common understanding of    25      form. This isn't a memory test. I


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 1      think she would have the publication in      1   and those who did not. And they also take
 2      front of her, please.                        2   questionnaire responses for the 34,698
 3         THE WITNESS: Yeah, I do recall it         3   individuals who responded to the phase 2
 4      was about 34,000 individuals who did         4   survey, and they use those questionnaire
 5      respond to a CATI interview.                 5   responses to impute exposure data for the
 6   BY MR. LASKER:                                  6   individuals who did not respond to phase 2.
 7      Q. And then the imputation was with          7   That's the sort of the basic methodology;
 8   respect to the remainder which was the          8   correct?
 9   19,553 who did not respond to the phase 2       9       A. Yes. That's about the estimation
10   survey, and we have that in the dotted line;   10   procedure, yeah.
11   correct?                                       11       Q. And then they -- when forwarded in
12         MS. FORGIE: Again, I object to           12   time for purposes of the 2018 NCI study to
13      using these figures without her having      13   2013 for health outcomes which in this case
14      access to the publication.                  14   was cancer outcomes; correct?
15         THE WITNESS: I imagine that that's       15       A. They do what?
16      the number of individuals, yes.             16       Q. They measure cancer outcomes going
17         MR. LASKER: This will be 30-11,          17   to 2012 or 2013 --
18      and this is the 2018 JNCI article;          18       A. Depending on the state, yes.
19      right?                                      19       Q. And the health outcome information,
20         (Exhibit Number 30-11 was                20   that is obtained from separate healthcare
21         marked for identification.)              21   databases. It's not for the cancer outcomes
22         THE WITNESS: Yes.                        22   in the 2018 NCI study; correct?
23   BY MR. LASKER:                                 23          MS. FORGIE: Object to the form.
24      Q. So if you look at page 3 results,        24          THE WITNESS: Correct.
25   you'll see among 54,251 participants.          25   ///

                                        Page 71                                            Page 73
 1   That's the number we have for the cohort;       1   BY MR. LASKER:
 2   correct?                                        2      Q. You don't have any concerns about
 3      A. Yes.                                      3   the reliability of the information on the
 4      Q. And then on page 4 on the 2018            4   cancer outcomes that were used for the 2018
 5   JNCI, again, they discuss in the column that    5   NCI study; correct?
 6   goes down on that page the first indent in      6          MS. FORGIE: Object to the form.
 7   the primary analysis. Again, it's the           7          THE WITNESS: The cancer outcomes
 8   54,251 applicators.                             8      are pretty well documented in cancer
 9         Do you see that?                          9      registries. Of course, they assume that
10      A. Yes.                                     10      farmers stay within the states, but I
11      Q. And then if you go down about            11      know they also followed them for
12   halfway further down, you will see that        12      mortalities nationwide so they probably
13   there was 34,698 individuals who responded     13      found most case.
14   to both phase 1 and phase 2 questionnaires;    14   BY MR. LASKER:
15   correct?                                       15      Q. And then this is -- so this is the
16         MS. FORGIE: Object to the form.          16   overall analysis that was used, and I have
17         THE WITNESS: Yes.                        17   it here and you can check on the 2018 NCI
18   BY MR. LASKER:                                 18   study, page 5, Table 2. I put in here at
19      Q. Okay. And then what was done with        19   the bottom what the 2018 NCI study reports
20   respect to the imputation methodology, and I   20   for the rate ratio for the highest exposure
21   know we have further questions about how it    21   quartile for non-Hodgkin's lymphoma, and
22   was done, but the imputation methodology       22   that's that 0.87 with confidence intervals
23   takes questionnaire responses from the         23   of .64 to 1.2; correct?
24   individuals who responded to phase 1, both     24          MS. FORGIE: Object to the form.
25   the folks who then did respond to phase 2      25      Mischaracterizes the data and the study.


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 1          THE WITNESS: It shows the highest       1   indent in the primary analysis include
 2       exposure quartile compared with the        2   exposure information --
 3       non-exposed as the reference category.     3         MS. FORGIE: Wait, wait. Can you
 4   BY MR. LASKER:                                 4     read it a little slower, please.
 5       Q. And that's the number that's on the     5         MR. LASKER: I'm just positioning
 6   bottom on this table that I put up on the      6     you on the page.
 7   screen; correct?                               7         MS. FORGIE: That's what I'm trying
 8          MS. FORGIE: Object to --                8     to find.
 9   BY MR. LASKER:                                 9         MR. LASKER: In the primary
10       Q. 0.87, 0.64 to 1.2; correct?            10     analysis. I'm just getting you in the
11          MS. FORGIE: Object to the form.        11     right paragraph.
12       Mischaracterizes the data.                12         MS. FORGIE: Okay.
13          THE WITNESS: It's the same             13   BY MR. LASKER:
14       numbers.                                  14     Q. And then they talk about in the
15   BY MR. LASKER:                                15   course of that paragraph a number of
16       Q. Okay. Now the investigators            16   sensitivity analyses they conducted on the
17   then -- and this is discussed on page 4 of    17   data; correct, Dr. Ritz?
18   the paper -- do a number of sensitivity       18     A. Yes, they conducted sensitivity
19   analyses. I want to walk through them and     19   analyses and they describe them.
20   make sure we have a common understanding of   20     Q. So the first sensitivity analysis
21   what was done. So we'll mark this -- this     21   that they discuss is that they restricted
22   is now 30-12.                                 22   the exposure data only to information that
23          (Exhibit Number 30-12 was              23   they obtained in the phase 1 questionnaire;
24          marked for identification.)            24   correct?
25   ///                                           25     A. Yes.

                                       Page 75                                            Page 77
 1   BY MR. LASKER:                                 1          MS. FORGIE: Object to the form.
 2      Q. We'll put this on the screen and         2   BY MR. LASKER:
 3   take a snapshot of that as well.               3      Q. So that's what we have depicted
 4          MR. LASKER: 30-Exhibit 11 was the       4   here. So this is now just data information
 5      2018 NCI study. This is 30-12.              5   from the phase 1 questionnaire; correct?
 6          MS. FORGIE: And this one is 30-12.      6   That's all actual questionnaire responses in
 7      Okay.                                       7   phase 1 for the 54,251 individuals in the
 8   BY MR. LASKER:                                 8   cohort; correct?
 9      Q. So for 30-12, this is on page 4 of       9      A. That's correct.
10   the NCI study, they talk about different      10      Q. And then from using only that
11   sensitivity analyses that they conducted      11   actual questionnaire data, they then looked
12   with their data; correct?                     12   at the cancer outcomes related to those
13          MS. FORGIE: And, again, I object       13   members of the cohort. And for their
14      to the use of this form created by         14   highest quartile of exposure, again,
15      counsel without her having a chance to     15   corresponding to the highest quartile
16      review.                                    16   exposure we looked at for the primary
17          You can go ahead and review this in    17   analysis, they reported that their rate
18      comparison to the study which is 30-11.    18   ratio without using any of the imputed data
19          THE WITNESS: So where does this        19   was 0.82 with 95 confidence interval of 0.62
20      number come from?                          20   to 1.8; correct?
21   BY MR. LASKER:                                21      A. Yes.
22      Q. That's the question I want to walk      22      Q. Okay. The second sensitivity
23   through with you. So on page 4 of the 2018    23   analysis --
24   JNCI study, in the right-hand -- left-hand    24          MS. FORGIE: By the way, I object
25   column, I'm sorry, they talk about that       25      to showing this in this way. This is a


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                                       Page 78                                            Page 80
 1      much longer period of time.                 1   graphic?
 2          MR. LASKER: I'm sorry. Which --         2          MS. FORGIE: Object to the form.
 3          MS. FORGIE: Wait, let her explain.      3          THE WITNESS: Actually, I'm
 4          THE WITNESS: This ten line, 30-12       4       objecting to how this is referenced.
 5      but also 30-10. You can see that            5   BY MR. LASKER:
 6      between 1974 and 1993 there's a broken      6       Q. Let's go back to that. I want to
 7      line.                                       7   make sure I understand.
 8   BY MR. LASKER:                                 8          MS. FORGIE: Tell him the reference
 9      Q. Right.                                   9       number.
10      A. That reflects that we're leaving        10          THE WITNESS: It's 30-10.
11   years out. But between 2005 and 2013 that's   11   BY MR. LASKER:
12   not the case. It looks like that time         12       Q. Yes.
13   period is fairly small. It's not.             13       A. Because this image makes it look as
14      Q. That's fine. But the years that         14   if they reported for the whole period, and
15   are actually written down here, 1974 to       15   they clearly didn't.
16   1993, 1997, 1999, 2005, and 2013, those       16       Q. Okay.
17   years are accurate; correct?                  17       A. So these individuals reported for
18          MS. FORGIE: Objection. She's           18   the 12-month period depending on in which
19      already stated that 2000 -- well,          19   year they were interviewed. So we have gaps
20      objection. She's already stated there's    20   in exposure assessment.
21      a problem.                                 21       Q. But the phase 2 survey was, and
22          MR. LASKER: Objection is noted.        22   obviously we have to be able to look forward
23          THE WITNESS: They are accurate         23   in the box. I understand that. But the
24      to -- in a certain sense because they      24   phase 2 survey was provided during the years
25      are also ignoring that one of the states   25   1999 and 2005 and in that questionnaire the

                                       Page 79                                            Page 81
 1      finished at 2012, not '13.                  1   individuals provided information for one
 2   BY MR. LASKER:                                 2   reference year, their most recent year of
 3      Q. Okay. But other than that one            3   pesticide use; correct?
 4   date, the other dates are accurate on          4         MS. FORGIE: Object to the form.
 5   this --                                        5         THE WITNESS: The most recent year
 6      A. Depending on what they depict. I         6      of farming, yes.
 7   don't know.                                    7   BY MR. LASKER:
 8      Q. I should clarify. 1974 is the date       8      Q. Okay. Let's go to 30 --
 9   that glyphosate-based herbicides were first    9      A. It's not pesticide use. That's
10   approved for use in the United States;        10   important.
11   correct?                                      11      Q. It's farming.
12          MS. FORGIE: Object to the form.        12      A. It's farming.
13          THE WITNESS: Yes.                      13      Q. And then they provided responses
14   BY MR. LASKER:                                14   with respect to pesticide use during that
15      Q. And in the phase 1 survey, the          15   year?
16   individuals who provided questionnaire        16      A. Yes.
17   responses were providing information on       17      Q. Understood. 30-13 then is the
18   historical use of glyphosate, which at the    18   second sensitivity analysis that was
19   maximum could extend back to 1974; correct?   19   conducted in the JNCI.
20          MS. FORGIE: Object to the form.        20         (Exhibit Number 30-13 was
21          THE WITNESS: Correct.                  21         marked for identification.)
22   BY MR. LASKER:                                22         MS. FORGIE: I don't think we have
23      Q. Do you have any other concerns with     23      a 30-13.
24   the -- how this first sensitivity analysis    24         MR. LASKER: Here. I don't think I
25   is depicted on this graph -- on this          25      handed that out. My mistake.


                                                                    21 (Pages 78 to 81)
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                                        Page 82                                           Page 84
 1         (Discussion off the record.)              1   judge understands the sensitivity analysis
 2   BY MR. LASKER:                                  2   that was conducted. For this sensitivity
 3      Q. This is the second sensitivity            3   analysis, the investigators looked only at
 4   analysis they conducted in the 2018 NCI         4   actual questionnaire response data from
 5   study was they only looked at the               5   phase 1 and phase 2 for the members of the
 6   individuals who responded to both the phase     6   cohort that provided answers to both
 7   1 and phase 2 surveys; correct?                 7   questionnaires; correct?
 8         MS. FORGIE: Again, objection to           8         MS. FORGIE: Objection. And are
 9      using this 30-13 along with 30-10 and        9      you talking about 30-13 or 30-12?
10      30-12 created by counsel that she's         10         MR. LASKER: This is 30-13.
11      never had a chance to look at, and I        11         MS. FORGIE: Okay.
12      object to that.                             12         THE WITNESS: So they are using
13         THE WITNESS: It's the same number,       13      actual data. However, that actual data
14      so I imagine these are the individuals      14      has many, many holes as we know because
15      with the exposure data at baseline and      15      they are only asking about a 12-month
16      for the 12-month period at follow-up.       16      period and guess whatever happened in
17   BY MR. LASKER:                                 17      the interim when glyphosate use changed
18      Q. And what the investigators did in        18      considerably.
19   the 2018 NCI study is looking solely at        19   BY MR. LASKER:
20   these questionnaire responses in phase 1 and   20      Q. But for this sensitivity analysis 2
21   phase 2. And, again, not looking at any        21   using only actual questionnaire data for
22   imputed data, they calculated the rate ratio   22   34,698 individuals in the phase 1 and phase
23   for non-Hodgkin's lymphoma from exposure to    23   2 survey, they found a rate ratio for the
24   glyphosate going out to 2012 or 2013 and       24   highest quartile of exposure of 0.9 at the
25   they found that for the highest quartile       25   rate of confidential of 0.63 to 1.27;

                                        Page 83                                           Page 85
 1   exposure group, their rate ratio was 0.9        1   correct?
 2   with confidence interval of 0.63 to 1.27;       2         MS. FORGIE: Object to the form.
 3   correct?                                        3         THE WITNESS: They found in highest
 4          MS. FORGIE: Object to the form.          4     quartile odds ratio or hazard ratio, I
 5      When you're -- I notice it's saying NCI      5     guess, comparing to the unexposed, and I
 6      up at the top. Are you talking about         6     have concerns about that as I have large
 7      the AHS study, the 30-11.                    7     concerns about using this data as if
 8          MR. LASKER: The 2018 publication         8     it's the truth. It's not.
 9      in the "Journal of the National Cancer       9   BY MR. LASKER:
10      Institute," yes.                            10     Q. Let's go to the next sensitivity
11          MS. FORGIE: I object to that as         11   analysis. This will be 30-14.
12      well.                                       12         (Exhibit Number 30-14 was
13          MR. LASKER: That's fine.                13         marked for identification.)
14          THE WITNESS: So the comparison          14   BY MR. LASKER:
15      they make is always to the non-exposed.     15     Q. This document shows the third
16   BY MR. LASKER:                                 16   sensitivity analysis that the JNCI
17      Q. Right.                                   17   investigators conducted in their
18      A. And I actually object to that kind       18   publication; correct?
19   of comparison because Anneclaire DeRoos for    19         MS. FORGIE: Object to the form and
20   a good reason did, she compared the highest    20     the reference as it is the third
21   to the lowest exposed because there's a        21     sensitivity analysis. Again, I object
22   certain number of confounding likely between   22     to counsel showing her a document that
23   the unexposed and those using glyphosate.      23     she's never had a chance to see before
24      Q. We can talk about that, but I want       24     or compare.
25   to make sure I understand and the jury and     25         THE WITNESS: Could you walk me


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 1      through what this is?                        1   believe that we should all eat glyphosate in
 2   BY MR. LASKER:                                  2   our cereal in order to prevent NHL. I do
 3      Q. Sure. The third sensitivity               3   not believe any of these estimates are below
 4   analysis, and it's page 4 of the JNCI           4   1. So we're finally getting to where I can
 5   article. The investigators truncated their      5   imagine that some of the exposure
 6   cancer incidence data. Instead of extending     6   misclassification and some of the
 7   it out to 2013, they brought it back to         7   confounding is not as strong anymore, and
 8   2005; correct?                                  8   that's what this is indicating as it was in
 9          MS. FORGIE: Objection. Object to         9   the other sensitivity analysis.
10      form.                                       10       Q. So if I understand correctly, if
11          THE WITNESS: Yes, they excluded         11   the rate ratio is -- the point estimate of
12      all cancer incidences after 2005.           12   the rate ratio is above 1, you consider that
13   BY MR. LASKER:                                 13   could be more believable with a
14      Q. So to the extent there were changes      14   non-statistically significant finding than
15   in exposure after 2005, either incidence or    15   if the rate ratio is below 1 with a
16   intensity, that information is no longer       16   non-statistically significant finding?
17   part of this analysis because the cancer now   17          MS. FORGIE: Object to the form.
18   has a cutoff of 2005; correct?                 18       Mischaracterizes her testimony. Asked
19          MS. FORGIE: Object to the form.         19       and answered.
20          THE WITNESS: Any exposure changes       20          You can answer it again.
21      after 2005 would now be eliminated, but     21          THE WITNESS: What I think is that
22      not any before.                             22       glyphosate is not protecting us against
23   BY MR. LASKER:                                 23       NHL. So any true estimate should either
24      Q. Right. And using that sensitivity        24       be 1 or above 1. Any estimate below 1
25   analysis when they looked at the rate ratio    25       we have to explain unless we are willing

                                       Page 87                                              Page 89
 1   in their highest exposure quartile, again,      1      to agree that glyphosate prevents NHL.
 2   they found no association between glyphosate    2   BY MR. LASKER:
 3   exposure and non-Hodgkin's lymphoma;            3      Q. Is it your testimony that any of
 4   correct?                                        4   the rate ratios reported in the 2018 NCI
 5          MS. FORGIE: Object to the form.          5   study are statistically significant evidence
 6      Mischaracterizes the data from the           6   of a protective effect?
 7      study.                                       7          MS. FORGIE: Object to the form.
 8          THE WITNESS: Well, in this highest       8          THE WITNESS: Of a protective
 9      exposure quartile, we are finally on the     9      effect?
10      right side of the equation. We get a        10   BY MR. LASKER:
11      1.04 meaning it's not protected against     11      Q. Yes.
12      NHL anymore and tells you they are          12      A. For glyphosate?
13      starting to maybe look at the right         13      Q. Yes.
14      follow-up period where they have the        14          MS. FORGIE: Could you read the
15      best data for which is really a very        15      question back again, please.
16      short period.                               16          THE WITNESS: I don't understand
17   BY MR. LASKER:                                 17      this.
18      Q. So is it your testimony, or let me       18   BY MR. LASKER:
19   make sure I understand. Is it your             19      Q. I'll restate the question.
20   testimony that this analysis with a rate       20          You're talking about the fact that
21   ratio of 1.04 confidence interval of 0.7 to    21   the other rate ratios reported that we've
22   1.57 is suggestive of a causal link between    22   looked at are below 1.
23   glyphosate exposure and non-Hodgkin's          23      A. Uh-huh.
24   lymphoma?                                      24      Q. None of those rate ratios are
25      A. What I'm saying is that I don't          25   statistically significant; correct?

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 1     A. That's correct.                            1   yes.
 2     Q. And none of those rate ratios and          2       Q. I understand that it's your opinion
 3   nobody claims in the NCI study that any of      3   that there was non-differential exposure
 4   those rate ratios are evidence of a             4   misclassification in this study. Is it your
 5   protective effect for glyphosate; correct?      5   belief that Monsanto's experts believe that
 6         MS. FORGIE: Object to the form.           6   there was non-differential exposure
 7         THE WITNESS: Well, in fact, some          7   misclassification in the study?
 8     of your own experts seem to infer that        8          MS. FORGIE: Objection. Object to
 9     in the way they wrote their reports.          9       the form. Also I think it would be
10   BY MR. LASKER:                                 10       helpful if she could look at the Heltshe
11     Q. Is it your opinion that any of            11       Ryder reports or Acquavella. I don't
12   Monsanto's experts are stating that the 2018   12       know which experts you're referring to.
13   NCI study shows that glyphosate is             13          THE WITNESS: Which experts?
14   protective against non-Hodgkin's lymphoma?     14   BY MR. LASKER:
15         MS. FORGIE: Object to the form.          15       Q. I'm sorry. This is something you
16     Asked and answered.                          16   stated. I want to understand the testimony
17         You can answer.                          17   you just provided. Is it your understanding
18         THE WITNESS: So what I'm saying is       18   that any of Monsanto's experts have opined
19     that what is the -- what is the story        19   that there was non-differential exposure
20     here? Are we supposed to believe that        20   misclassification in the 2018 NCI study?
21     estimates of .83 and .9 are reflecting       21          MS. FORGIE: Object to the form,
22     the truth?                                   22       asked and answered.
23   BY MR. LASKER:                                 23          THE WITNESS: They are trying very
24     Q. That was not my question. My              24       hard to say that's not the case.
25   question is is it your opinion or your         25   ///

                                        Page 91                                            Page 93
 1   understanding of the expert report submitted    1   BY MR. LASKER:
 2   by Monsanto's experts that Monsanto's           2      Q. And if there is no non-differential
 3   experts are stating that the findings in the    3   exposure misclassification in the JNCI
 4   JNCI study are evidence of a protective         4   study, then there is no biasing towards the
 5   effect of glyphosate against non-Hodgkin's      5   null; correct?
 6   lymphoma?                                       6         MS. FORGIE: Object to the form.
 7          MS. FORGIE: Object to the form.          7         THE WITNESS: That's not correct.
 8      Asked and answered.                          8      There are many other biases that can
 9          You can answer it again.                 9      move the estimate towards the one
10          THE WITNESS: They are not saying        10      including confounding. That's not
11      that explicitly, but the way they argue     11      adjusted for.
12      you would imagine that -- no. You have      12   BY MR. LASKER:
13      to actually assume they think that          13      Q. Is it your understanding that
14      because of the way they argue.              14   the -- strike that.
15   BY MR. LASKER:                                 15         Do you believe that there is bias
16      Q. Am I correct -- let me make sure I       16   in the 2018 JNCI study that is biasing the
17   am. Your understanding is that you are --      17   reported rate ratios away from the null?
18   strike that. Start again.                      18      A. Away from the null in what
19          Is your testimony in that regard        19   direction?
20   based upon the issue of non-differential       20      Q. Either direction.
21   exposure classification biasing findings       21      A. Like below? Below the --
22   towards the null?                              22      Q. Below or above.
23      A. I state that that is the most            23         MS. FORGIE: Object to the form.
24   likely thing that might happen is              24         THE WITNESS: There is certainly
25   non-differential exposure misclassification,   25      bias that is shown here that moves

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 1      estimates below the 1, yes. That's a        1   error biased the rate ratio away from the
 2      biased estimate.                            2   null?
 3   BY MR. LASKER:                                 3      A. Correct.
 4      Q. My question is can you identify for      4      Q. How did that happen in your
 5   me any specific bias that you believe          5   opinion?
 6   occurred in the 2018 JNCI study that you       6      A. That is actually pointed out in the
 7   believe biased the reported rate ratio away    7   beautiful paper by M. Jurek and Sander
 8   from the null?                                 8   Greenland that was in the list of your
 9          MS. FORGIE: Objection. Asked and        9   experts, and that they obviously must have
10      answered.                                  10   misinterpreted.
11          You can answer it again.               11      Q. And the Sander Greenland article
12          THE WITNESS: Yes, indeed.              12   talks about bias away from the null when
13      Confounding is the most likely one         13   there is a bias that is associated both with
14      because you're comparing an unexposed      14   exposure and disease outcome; correct?
15      group that I believe is not in the sense   15      A. No. This is non-differential, and
16      of the causal inference that we try to     16   they specifically called it
17      make fully exchangeable with the exposed   17   non-differential. Non-differential can
18      group.                                     18   actually -- doesn't mean that it's just one
19   BY MR. LASKER:                                19   kind of bias that ends at 1, that it
20      Q. So is the --                            20   actually -- because we are randomly sampling
21          MS. FORGIE: Wait. Let her finish.      21   from exposure distribution, we could
22          THE WITNESS: They have not             22   randomly also have estimates below the 1,
23      adjusted for all the variables because     23   and that's what they're showing.
24      we don't really know in every single way   24      Q. In the Sander Greenland article
25      how these two differ.                      25   they state for that to happen, the

                                       Page 95                                            Page 97
 1          The best way to actually check that     1   misclassification would have to be
 2      is by using only exposed. That's what       2   associated both with the exposure and the
 3      Anneclaire DeRoos did. She looked at        3   disease outcome; correct?
 4      the low exposure versus high exposure.      4      A. That's --
 5      She left it specifically because she was    5          MS. FORGIE: Wait. Objection. I
 6      worried about that confounding. She         6      think it would be fair to show her the
 7      left out the nonexposed.                    7      article. You're being very specific
 8   BY MR. LASKER:                                 8      here.
 9      Q. My question to you is not whether        9          MR. LASKER: It's her testimony.
10   you believe that it existed or not but what   10   BY MR. LASKER:
11   you can point to that you believe caused      11      Q. Is it your testimony that Sander
12   this. I just want to make sure I              12   Greenland says there's exposure away from
13   understand. You stated that you believe       13   the null when there is no association?
14   confounding led to a bias in the reported     14          MS. FORGIE: Wait. Objection. I
15   rate ratios away from the null; is that       15      still think you should show her the
16   correct? Is that your testimony?              16      article. I don't think it's fair.
17          MS. FORGIE: Objection --               17          THE WITNESS: The article I read
18          THE WITNESS: That is one --            18      and I'm referring to was one on
19          MS. FORGIE: Wait.                      19      non-differential exposure
20          Objection. Asked and answered.         20      misclassification, not differential.
21          You can answer it again.               21   BY MR. LASKER:
22          THE WITNESS: It is one of the          22      Q. Okay. And with respect to
23      biases. Another one is random error.       23   non-differential exposure misclassification
24   BY MR. LASKER:                                24   for it to be a bias away from the null,
25      Q. Is it your testimony that random        25   there would have to be an association both


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 1   with exposure and with disease outcome;         1   controls. This is by design in a cohorts
 2   correct?                                        2   since at the moment no one has a disease of
 3          MS. FORGIE: Object to the form.          3   interest such that remembering would be
 4          THE WITNESS: That is incorrect.          4   influenced by disease status."
 5       That's the definition of differential       5          Did I read that correctly?
 6       exposure misclassification.                 6      A. That's correct.
 7   BY MR. LASKER:                                  7      Q. And then page 6 of your expert
 8       Q. For a non differential exposure          8   report at the end of the carryover
 9   misclassification, you're not going to have     9   paragraph, the last sentence, and you've
10   bias away from the null; correct?              10   underlined this, you state, "The combined
11          MS. FORGIE: Object to the form.         11   impact of these two sources of
12          THE WITNESS: Incorrect. They are        12   non-differential exposure misclassification
13       explicitly writing this article to show    13   can strongly bias results towards the null,
14       that under random error, strong random     14   i.e., not finding a true association."
15       error in exposure misclassification        15   Correct?
16       that's non-differential, doesn't depend    16      A. Where is that?
17       on disease, you can get a bias away from   17      Q. Page 6 underlined.
18       the null or across the null.               18      A. Yeah, yeah.
19   BY MR. LASKER:                                 19      Q. In your supplemental expert report,
20       Q. Let's take a look at your               20   and you've underlined this, you state "The
21   supplemental expert report at page 8.          21   combined impact of these two sources of
22          MS. FORGIE: It's number --              22   non-differential exposure misclassification
23          MR. LASKER: 30-1.                       23   can strongly bias results towards the null,
24          MS. FORGIE: 30-1. You're right.         24   i.e., not finding a true association."
25   ///                                            25   Correct?

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 1   BY MR. LASKER:                                  1       A. Correct.
 2      Q. At page 2 of your report, the third       2       Q. And in no place in your
 3   paragraph on the page, you state "It is well    3   supplemental expert report do you ever state
 4   known that faulty recall of past exposures      4   that there was any bias in the 2018 study
 5   leads to measurement error"; correct?           5   that you state biased the reported rate
 6      A. Yes.                                      6   ratios away from the null; correct?
 7      Q. "In a cohort study this error             7          MS. FORGIE: Object to the form.
 8   contributes to non-differential exposure        8          THE WITNESS: I'm not sure what
 9   misclassification, i.e., it is as likely for    9       you're saying.
10   those who remain healthy and those who later   10   BY MR. LASKER:
11   develop a disease to make mistakes and not     11       Q. There is no statement anywhere in
12   recall and report exposures correctly."        12   your supplemental expert report in which you
13         Did I read that correctly?               13   state that the errors that you opine
14      A. Yes.                                     14   occurred in connection with the 2018 NCI
15      Q. And then on page 3 of your               15   study biased the results away from the null.
16   supplemental expert report, you state -- and   16          MS. FORGIE: Object to the form.
17   now we're in the second paragraph, second      17       Mischaracterizes the report.
18   full paragraph, and it is the second           18          You can answer.
19   sentence in your expert report, "The error     19          THE WITNESS: When you don't see a
20   generated in cohorts and especially the AHS,   20       result, when you don't see a positive
21   agricultural health study, is considered       21       result for a risk factor, there's no
22   non-differential such that there is no         22       reason to believe that it's biased away
23   systematic difference between the error in     23       from the null. So there's no reason for
24   reporting for those who later become cases,    24       me to comment on it.
25   diseased, and those who remain healthy,        25   ///


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 1   BY MR. LASKER:                                  1          (Exhibit Number 30-15 was
 2      Q. Am I correct that there is no             2          marked for identification.)
 3   statement anywhere in your supplemental         3          MR. LASKER: 30-17?
 4   expert report in which you state that any of    4          MS. SHIMADA: 15.
 5   the errors that you opined exist in the 2018    5          MR. LASKER: 30-15. Thank you.
 6   NCI study biased the results away from the      6   BY MR. LASKER:
 7   null?                                           7      Q. Dr. Ritz, you cite this 1997 memo
 8         MS. FORGIE: Object to the form.           8   by Dr. Acquavella in your supplemental
 9      Mischaracterizes the report.                 9   expert report; correct?
10         THE WITNESS: This is not what I          10      A. Correct.
11      was asked to do when I reviewed this        11      Q. And in particular at page 4 of your
12      report. So there's no reason for me to      12   expert report you quote from this report --
13      go into a bias that obviously doesn't       13   first of all, this report was drafted prior
14      exist because there's no association        14   to the time when the AHS study resulted in
15      shown.                                      15   any published epidemiological analyses of
16   BY MR. LASKER:                                 16   pesticide exposure in cancer; correct?
17      Q. And there are numerous places in         17          MS. FORGIE: Object to the form.
18   this report that you talk about biases that    18          THE WITNESS: When was it?
19   you believe exist in the 2018 NCI study that   19   BY MR. LASKER:
20   you believe biased the results towards the     20      Q. 1997.
21   null; correct?                                 21      A. They started publishing quite soon,
22         MS. FORGIE: Object to the form.          22   but I wouldn't be able to say whether it's
23      Mischaracterizes the report.                23   exactly before.
24         THE WITNESS: I was asked to              24      Q. Have you looked to see whether
25      analyze the results with respect to         25   there was any publication out of the AHS on

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 1       biases. That's what I did, and I gave       1   pesticide exposure in cancer prior to this
 2       my opinion about what non-differential      2   memo?
 3       exposure misclassification does in this     3      A. I would imagine there isn't, but I
 4       study, correct.                             4   can't say for sure that there isn't.
 5   BY MR. LASKER:                                  5      Q. And you quote this memorandum on
 6       Q. Okay. The --                             6   page 4 of your supplemental expert report as
 7       A. Not what it does, in general. What       7   identifying two problems with the exposure
 8   it does in this study.                          8   assessment in the AHS, and the first was
 9       Q. The 2011 -- let's mark this next in      9   that usage does not necessarily mean
10   line.                                          10   exposure (work practices, equipment,
11           MS. FORGIE: Where are we in time       11   environmental conditions, determine exposure
12       just out of curiosity, please.             12   to a large degree); correct?
13           THE VIDEOGRAPHER: 137.                 13          MS. FORGIE: What page are you on?
14           MS. FORGIE: He's used up or            14          THE WITNESS: That's what it
15       remaining.                                 15      states, yes.
16   BY MR. LASKER:                                 16   BY MR. LASKER:
17       Q. Let's go to the 1997 Acquavella         17      Q. That's what you quote in your
18   memo.                                          18   expert report on page 4; correct?
19           MS. FORGIE: The memo?                  19          MS. FORGIE: Thank you.
20           MR. LASKER: This is something she      20          THE WITNESS: Yes.
21       cites in her report.                       21   BY MR. LASKER:
22           THE WITNESS: Can I just get myself     22      Q. In the publications that came out
23       a glass of --                              23   of the Agricultural Health Study including
24           MS. FORGIE: Hold on one second.        24   the 2018 NCI study, they in their exposure
25   ///                                            25   classification take into account intensity


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 1   of exposure which includes variables on work    1      pesticides that were around for a long
 2   practices, equipment, and protective gear;      2      time and were used changed, both changed
 3   correct?                                        3      the most. There are other pesticides
 4          MS. FORGIE: Object to the form.          4      that are kind of stable or discontinued
 5      Mischaracterizes.                            5      and whatever they reported at baseline
 6          THE WITNESS: The AHS made an             6      might be quite correct.
 7      attempt to take work practices and           7   BY MR. LASKER:
 8      protective equipment gear into               8      Q. The other criticism that you quote
 9      consideration. They went through -- to       9   Dr. Acquavella making back in 1997 was that
10      a large extent through an exercise of       10   recall can be faulty, and he talks about
11      going out to farms and watching 20 to 30    11   attempts at verification of recall
12      farmers apply and take urine samples and    12   information on pesticide exposure; correct?
13      then, you know, estimated with what they    13         MS. FORGIE: Object to the form.
14      observed and what the urine samples         14         THE WITNESS: He states that, yes.
15      showed, which type of application method    15   BY MR. LASKER:
16      and which type of protective equipment      16      Q. Subsequent to the date of this
17      would be giving you the most protection     17   Acquavella memorandum, the AHS investigators
18      so that you wouldn't find the               18   conducted a number of studies including
19      metabolites of certain pesticides in the    19   repeat questionnaires to assess the accuracy
20      urine.                                      20   of the recall information in the AHS
21          However, everything they did was        21   questionnaire for exposures to pesticides;
22      with 20 willing people who were being       22   correct?
23      observed and the algorithm they             23      A. They attempted to do that, yes.
24      developed was for 56,000 applicators who    24      Q. Okay. The -- you have, in fact, in
25      reported use since 1974. Do we really       25   your own research used intensity factors in

                                      Page 107                                            Page 109
 1     believe that what they are observing in       1   determining exposure -- exposures to
 2     2003, let's say, reflects the intensity       2   pesticides; correct? For epidemiological
 3     and the type of application and the           3   research?
 4     protection, even the protective               4          MS. FORGIE: Object to the form.
 5     equipment that would have been used by a      5          THE WITNESS: Actually we used
 6     farmer in the '80s?                           6      Dr. Dosemeci's scheme, and we also -- we
 7   BY MR. LASKER:                                  7      actually did three different types of
 8     Q. My question though -- I think              8      analyses where we used Dr. Dosemeci's
 9   you've answered it -- is that this concern      9      scheme, a scheme from someone else as
10   that Dr. Acquavella raised in 1997, the AHS    10      well as without weighing for intensity
11   investigators at least attempted to            11      at all, and interestingly, our own
12   address -- and I understand you have           12      results were stable and showed exactly
13   concerns about how well they did that. Is      13      the same results for Parkinson's disease
14   that fair?                                     14      whether or not we used intensity.
15         MS. FORGIE: Objection. Asked and         15      However, these -- that was a case
16     answered as you just stated.                 16      control study, and it's very different
17         You can answer it again.                 17      in terms of exposure assessment from the
18         THE WITNESS: Well, the intensity         18      AHS.
19     estimation that they conducted may work      19   BY MR. LASKER:
20     in certain circumstances and may not         20      Q. Is -- and just to make sure we have
21     work in others, and we really don't know     21   this correctly, this is Exhibit 30-16.
22     in which they do and they don't. What        22          (Exhibit Number 30-16 was
23     we know is the protective equipment          23          marked for identification.)
24     changed and that the application methods     24   BY MR. LASKER:
25     changed and, therefore, for the              25      Q. This is the publication -- is that


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                                      Page 110                                                   Page 112
 1   the publication you had in mind?                1   believe that the epidemiologic -- strike
 2      A. Yes.                                      2   that.
 3      Q. And in this publication when you          3           In your opinion, does the 2018 NCI
 4   presented -- in this presentation you used a    4   study strengthen or weaken the
 5   measures of intensity and then as reported      5   epidemiological evidence in support of your
 6   on page 247, you set forth your analyses of     6   opinion that there is an association between
 7   associations between Parkinson's disease and    7   glyphosate-based herbicides and
 8   pesticide exposures based upon various          8   non-Hodgkin's lymphoma?
 9   exposure quartiles; correct?                    9       A. It does not change my opinion at
10          MS. FORGIE: Object to the form.         10   all because it shows exactly what I
11   BY MR. LASKER:                                 11   predicted due to their severe exposure
12      Q. Tertiles.                                12   misclassification for gglyphosate.
                                                                                   yp
13      A. Yes.                                     13       Q
                                                             Q. Do yyou believe the 2018 NCI study  y
14          MS. FORGIE: Give her a chance --        14   has any  y weight
                                                                       g in the evaluation of whether
15   BY MR. LASKER:                                 15   gglyphosate-based
                                                            yp                herbicides caused
16      Q. What you set forth in your analysis      16    non-Hodgkin's
                                                                    g      lymphoma?
                                                                            y p
17   was dosing based upon three exposure           17       A. It doesn't have it for me.
18   tertiles with odds ratios that were then       18       Q
                                                             Q. At the end of yyour supplemental
                                                                                        pp
19   compared to no exposure; correct?              19    expert
                                                             p report
                                                                    p youy state that it would be
20          MS. FORGIE: Object to the form and      20    inappropriate
                                                              pp p       to include the 2018 NCI study
21      take your time to review it.                21    in a meta analysis
                                                                         y of gglyphosate
                                                                                   yp
22          THE WITNESS: Yes, that's correct.       22    epidemiologic
                                                           p          g study; y; correct?
23   BY MR. LASKER:                                 23       A. It depends
                                                                       p     on what yyou're trying
                                                                                               y g to
24      Q. In discussing your findings on           24    say.
                                                            y I learned that meta analyses
                                                                                         y -- and
25   page 244, and then it goes over to 246, on     25    this is Dr. Greenland who wrote the bible in

                                      Page 111                                                   Page 113
 1   page 244, among Parkinson's disease case        1   epidemiology
                                                          p           gy can be used in different ways,   y
 2   control, and then continuing to 246,            2   and the least informative way     y is to create a
 3   studies, a majority, however, relied on         3   summary  y estimate across every    y studyy in the
 4   retrospectively self-reported occupational      4   book because that jjust ggives yyou a summary      y
 5   pesticide exposures solely based on expert      5   estimate that mightg be highly g y biased because
 6   assessment and job titles to construct          6   studies are of very  y different qquality.
                                                                                                  y
 7   exposure matrixes underscoring a lack of        7         So the wayy you y should be usingg meta
 8   studies using exposure assessment methods       8   analysis
                                                              y is by  y ggrouping
                                                                                p g studies according    g to
 9   that might not be affected by recall bias;      9   their design
                                                                   g and their qqualities in terms of
10   correct?                                       10   exposure
                                                            p       assessment,, in terms of the
11      A. Correct, in a case control study,        11   possible selection bias,, in terms of a lot
                                                         p
12   yes.                                           12   of different bias-related issues and then
13      Q. On page 248 in your study on the         13   use that to inform y   your opinion
                                                                                        p      overall
14   second column the second paragraph you         14   which type
                                                                 yp of study and which type of result
15   state, "A limitation of our study we did not   15   you trust more.
16   record usage of personal protective            16      Q.
                                                            Q In your
                                                                    y      -- and maybe y I
17   equipments with the occupational history       17   misunderstood this. In yyour initial expert
18   which might modify pesticide exposure          18   report
                                                           p in this litigation,
                                                                             g      , yyou cited to a
19   levels"; correct?                              19   number of meta analyses  y that had been
20          MS. FORGIE: Where is it?                20   conducted pprior to the 2018 NCI study       y and as
21          THE WITNESS: Yes. Of this study.        21   you noted in yyour expert
                                                         y                        p report,
                                                                                          p , pprior to
22          MS. FORGIE: I see it. Thank you.        22   the results for the NAPP which is the North
23   BY MR. LASKER:                                 23   American Pooled Project.
24      Q. Dr. Ritz, if I understand -- let me      24      A. Right.
                                                                   g
25   make sure I understand correctly. Do you       25      Q. Do you rely upon the summary


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                                           Page 114                                              Page 116
 1   findings
            g in those meta analyses  y -- do yyou          1         MS. FORGIE: Object to the form.
 2   now rely y upon
                 p the summary        y findings
                                              g in those    2         THE WITNESS: For two pesticides
 3   meta analyses
                y as supportpp for yyour opinionp           3      that are not glyphosate and did not have
 4   that there is an association between                   4      the same change as glyphosate has, yes.
 5   non-Hodgkin's
               g       lymphoma and glyphosate-based        5         (Exhibit Number 30-17 was
 6   herbicides?                                            6         marked for identification.)
 7          MS. FORGIE: I'm ggoing       g to object
                                                  j to      7   BY MR. LASKER:
 8      the form. We're not here to talk about              8      Q. And then in -- on page -- you've
 9      her original
               g      expert
                         p report.
                                 p       That's             9   seen this article before; correct?
10      beyond
           y     the scope
                         p of this deposition.
                                         p                 10      A. No.
11      I'm ggoing
                 g to let her answer this one.             11      Q. Let's go back to your -- I'm sorry.
12      We're not ggoing g to ggo into her original
                                                g          12   Exhibit 30-1.
13      expert
           p report
                  p which yyou've already                  13         In your reference list in your
14      deposed
           p      her on for seven hours.                  14   supplemental expert report you cite to this
15          THE WITNESS: As a scientist,, I                15   study; correct?
16      never relyy on anyy summaries. I usually           16      A. That's the wrong one in here.
17      go
        g to the original
                     g       data and look at it           17         MS. FORGIE: That may have been my
18      and then actually y tryy to jjudge
                                         g each            18      fault. That was my fault. I'm sorry.
19      piece of work on its own merit.                    19   BY MR. LASKER:
20   BY MR. LASKER:                                        20      Q. Which Blair publication -- we don't
21      Q. Okay. Fair enough. Let's take a                 21   have to do this on the record. You can
22   break and I'm going to review my notes.               22   correct me.
23          THE VIDEOGRAPHER: This marks the               23      A. It's a different one. 2002-'05.
24      end of videotape number 1 in the                   24   Right?
25      deposition of Dr. Beate Ritz. We're off            25      Q. We'll deal with this later. I

                                           Page 115                                              Page 117
 1     the record at 3:27 p.m.                              1   understand now. Let me ask you with respect
 2         (Recess taken from 3:27 p.m. to                  2   to what is the Exhibit Number 30- --
 3         3:59 p.m.)                                       3      A. 17.
 4         THE VIDEOGRAPHER: We are back on                 4      Q. On page 539 in the Blair 2011
 5     the record. This marks the beginning of              5   paper, the AHS investigators set forth --
 6     videotaped number 2 in the deposition of             6         MS. FORGIE: What's the number on
 7     Dr. Beate Ritz. You may proceed.                     7      that one? I'm sorry. 30-17.
 8         MR. LASKER: Thank you.                           8         MR. LASKER: 30-17.
 9   BY MR. LASKER:                                         9   BY MR. LASKER:
10     Q. Dr. Ritz, we were talking                        10      Q. The AHS investigators and Dr. Blair
11   previously about non-differential exposure            11   set forth various scenarios where
12   misclassification, and the investigators who          12   non-differential misclassification could
13   worked on the AHS study in 2011 prepared an           13   create bias in the reported rate ratios in
14   analysis of the impact of this type of                14   epidemiological studies coming out of the
15   non-differential exposure misclassification           15   AHS cohort; correct?
16   on estimates of relative risk in the AHS;             16      A. That is incorrect. What they're
17   correct?                                              17   doing here is actually comparing the
18     A. Let me see. They are specifically                18   algorithm of the AHS to urinary level active
19   doing this for 2,4-D chlorpyrifos to                  19   metabolize that they're measuring pre and
20   evaluate their algorithm.                             20   post application, and that's a very
21     Q. Right. But what the article is                   21   different scenario from what actually the
22   about is addressing the possibility of bias           22   AHS did. They're estimating long-term
23   that can be created in their study through            23   exposure.
24   non-differential exposure misclassification;          24      Q. Let me walk you through on
25   correct?                                              25   page 540. Let me take a step back. One of


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                                     Page 118                                            Page 120
 1   the issues that they're dealing with with      1   ratios in AHS studies towards the null;
 2   respect to correlation with urinary levels     2   correct?
 3   is that could lead to exposure                 3            MS. FORGIE: Object to the form.
 4   misclassification in the AHS study. That's     4            THE WITNESS: It's the general --
 5   one of the issues they're considering;         5       it's the general way that these
 6   correct?                                       6       estimates might be biased, yes.
 7         MS. FORGIE: Object to the form.          7   BY MR. LASKER:
 8         THE WITNESS: They are considering        8       Q. And if you can turn to page 540 --
 9      whether the algorithm they are using for    9       A. And that's their own conclusion
10      application type and for protective        10   here.
11      equipment used is actually accurately      11       Q. Right. I understand. I just read
12      reporting -- related, is accurately        12   it.
13      related to metabolize their measuring      13       A. Yeah, exactly.
14      pre and post exposure because they're      14       Q. If you can turn to page 540 of
15      using certain weights to define these      15   Dr. Blair's 2011 article, and on the second
16      intensities. So they're observing          16   column he discusses several conclusions can
17      farmers while they are applying with       17   be drawn from evaluation of the impact of
18      their usual methods, and they're           18   exposure misclassification on an estimated
19      collecting the urine pre and post. They    19   relative risks in the agricultural health
20      also gave them a questionnaire at the      20   study. Do you see that in the second
21      end of the day that asked them exactly     21   column at the top?
22      the same questions the AHS asked but for   22       A. Several conclusions, yes.
23      a 24-hour period. And then they're         23       Q. The first that they state is --
24      correlating, and that's all in the other   24       A. I need my glasses.
25      paper. Then they're correlating -- or      25       Q. That's fine.

                                     Page 119                                            Page 121
 1      in the Coble Bay paper, in a number of      1         "First, the correlation between
 2      papers. And then they are correlating       2   questionnaire or observer information on
 3      what they see in the urinary levels to      3   pesticide use in measured urinary levels are
 4      the estimated effect for 24 hours. So       4   in the range found for other factors that
 5      all they're evaluating here is a            5   are usually considered to be reliably
 6      24 hour -- or validating is a 24-hour       6   obtained for epidemiologic studies such as
 7      correlation between a urinary metabolite    7   tobacco and alcohol use, diet, physical
 8      and an application method and personal      8   activity and health assessments"; correct?
 9      protective equipment use.                   9      A. Yes, but that refers to a 24-hour
10   BY MR. LASKER:                                10   period. It doesn't refer to any long-term
11      Q. Can I take to you the abstract of       11   40, 30-year period.
12   this publication on the first page. In the    12      Q. Right. And you are also aware
13   conclusions here in the abstract it states    13   through the Blair 2002 study which is a
14   "Although correlations between algorithm      14   different analysis when they looked at
15   scores and urinary levels were quite good,    15   questionnaire responses taken a year apart,
16   i.e., correlations between 0.4 and 0.8,       16   the same person filled out a questionnaire
17   exposure misclassification with still bias    17   and then a year later filled out a
18   relative risk estimates in the AHS toward     18   questionnaire response, they similarly found
19   the null and diminished study power."         19   that the information that they were
20          Do you see that?                       20   obtaining on pesticide exposure -- the
21      A. Yes, I see that.                        21   consistency was similar to what they were
22      Q. So that is the issue of as you talk     22   finding for these other factors such as
23   about in your expert report the possibility   23   tobacco and alcohol use; correct?
24   of a non-differential exposure                24         MS. FORGIE: Object to the form.
25   misclassification biasing reported rate       25      Also I think it would only be fair to


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                                      Page 122                                            Page 124
 1      let her see the 2002 article.                1      Q. You don't know the answer to that?
 2          THE WITNESS: It's actually quite         2      A. No.
 3      different what I remember. What I            3      Q. Continuing with this 2011 Blair
 4      remember is that they had a general good     4   publication, they then write "Second
 5      agreement for yes/no which was               5   exposure estimate from an algorithm based on
 6      83 percent. However, when they went and      6   several determinants thought to affect
 7      asked about duration and intensity, the      7   exposure are more highly correlated with
 8      agreement was 53 percent for glyphosate,     8   measured levels of these pesticides in the
 9      meaning 47 percent got it wrong. In one      9   urine than some individual determinants" --
10      year. In one year. So we don't even         10   and they list some -- "and would result in
11      talk about 30 years.                        11   less attenuation of relative risks";
12   BY MR. LASKER:                                 12   correct?
13      Q. And we can go back to the 2002           13      A. Yes.
14   study if we have time, but in your             14      Q. Okay. Then they talk about the
15   understanding of what it meant to get it       15   possibility of bias towards the null under
16   wrong, do you recall again what the            16   various scenarios.
17   investigators reported as far as how far off   17         Do you see that?
18   those individuals were with respect to the     18      A. Yes, they show that even if the
19   year of exposure or the duration of exposure   19   relative risk was 3, they would calculate --
20   as reported in that paper?                     20   the true risk was 3, they would calculate a
21      A. That is not that paper. That was,        21   relative risk of 1.1.
22   I think, a Jane Hoppin paper where they        22      Q. As low as 1.1. And then they
23   looked at the first use and the duration.      23   continue if it was -- if the real relative
24   Jane is a very good friend, and that's not     24   risk was 2.0, what a non-differential
25   her best paper because all this paper says     25   misclassification bias towards the null

                                      Page 123                                            Page 125
 1   is that these people who came for a             1   would do; right?
 2   pesticide applicator exam actually knew when    2          MS. FORGIE: Object to the form.
 3   pesticides were introduced to the market.       3          Are you reading from it?
 4   And that doesn't tell you whether they          4          THE WITNESS: It's depending on
 5   remember exactly or even closely to when        5       which correlation size they have, yes.
 6   they themselves started using certain           6   BY MR. LASKER:
 7   pesticides.                                     7       Q. And then if you go down further on
 8       Q. I know there's also a separate           8   the page, further in that column, for
 9   paper with Dr. Hoppin. But I was actually       9   example, if the correlation between
10   asking about the Blair 2002 paper, but if      10   algorithm exposure intensity scores and
11   you don't recall, I'll just move on. Do you    11   measured urinary levels was 0.4 and the true
12   recall in that paper whether when they         12   relative risk was 3.0, the observed relative
13   discussed the correlation for duration that    13   risk would be between 1.3 and 1.9 when
14   they found an average day's use that they      14   sensitivity is in the 60 to 80 percent
15   found for the glyphosate if they reported      15   range. Do you see that?
16   the degree to which those who did not agree    16          MS. FORGIE: Where are you reading
17   or in disagreement?                            17       from?
18          MS. FORGIE: Objection. Again, I         18          THE WITNESS: Yeah, that's what
19       think it's only fair to show her the       19       they say.
20       paper if you're asking specific            20   BY MR. LASKER:
21       questions about specific numbers.          21       Q. If you can turn back now to
22   BY MR. LASKER:                                 22   page 539 --
23       Q. If you don't recall, that's fine.       23          MS. FORGIE: Hold on one second.
24   I'll just move on.                             24          MR. LASKER: Page 540.
25       A. Yeah.                                   25   ///


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                                       Page 126                                             Page 128
 1   BY MR. LASKER:                                  1   that is the third row of the charts that are
 2      Q. Turn back to page 539, the chart          2   presented on that page; correct?
 3   you're looking at previously, the first         3      A. Yes.
 4   row of those charts is showing if the true      4      Q. And depending on the degree of
 5   relative risk was 3.0, and they are             5   correlation, depending on the specificity
 6   providing various calculations of the degree    6   and depending on the sensitivity of their
 7   to which that true rate ratio of 3.0 could      7   exposure measures, there is different levels
 8   be biased towards the null under various        8   of bias towards the null that can occur from
 9   scenarios of sensitivity and specificity and    9   this type of non-differential exposure
10   correlation; correct?                          10   misclassification; correct?
11      A. Right.                                   11      A. I don't see specificity. There's
12         MS. FORGIE: Object to the form.          12   only sensitivity.
13   BY MR. LASKER:                                 13      Q. Okay. With the three -- okay.
14      Q. So then if we can turn back now to       14   Let's say, I'm sorry, correlation, and
15   page 540 and follow along that same place      15   sensitivity. You're right. Not
16   that we were looking at --                     16   specificity.
17      A. Yes.                                     17      A. Right.
18      Q. -- they state for a true relative        18      Q. But the three different charts --
19   risk of 2.0, the observed relative risks       19   PX equals 0.7, PX equals 0.4, PX equals 0.2,
20   from correlations of 0.2 or 0.4 never rise     20   those different columns would then be --
21   above 1.4; correct?                            21      A. Different exposure --
22      A. That's what it says.                     22          MS. FORGIE: Wait, wait.
23      Q. And then if you go back then to          23          THE WITNESS: Prevalences.
24   page 539, this is the second row of these      24   BY MR. LASKER:
25   tables looking at a true rate ratio of 2.0     25      Q. Different exposure prevalences,

                                       Page 127                                             Page 129
 1   and the possible impacts of a                   1   thank you.
 2   non-differential misclassification biasing      2         Depending on these various
 3   those results towards the null for a whole      3   different possibilities, there's various
 4   host of different possible specificities and    4   degrees of non-differential exposure
 5   sensitivities and correlation levels;           5   misclassification that can result in various
 6   correct?                                        6   degrees of biassing towards the null;
 7      A. Not a whole host.                         7   correct?
 8         MS. FORGIE: Object to the form.           8      A. Yes.
 9   BY MR. LASKER:                                  9      Q. In none of the scenarios that they
10      Q. So they have correlations of either      10   examined in this paper for the AHS for
11   0.2, 0.4, or 0.7?                              11   non-differential exposure misclassification
12      A. Right.                                   12   did they find any situation in which the
13      Q. They have sensitivities going from       13   bias would be past the null --
14   0.5 to 1.0, and they have specificity of       14      A. Okay.
15   either -- of three various -- of three         15      Q. -- in the other direction?
16   levels; correct?                               16      A. Correct. Because they     y don't assess
17      A. Correct.                                 17   random error in doing  g these,, and theyy do
18      Q. And then finally if you can return       18   not -- they assume that there's no other
19   to page 540, they state from -- for true       19   bias.
20   relative risks of 0.5, correlations from 0.2   20      Q. For the AHS investigators in their
21   to 0.4 between exposure estimates and          21   published publication when they looked at
22   measurements yield estimates of relative       22   non-differential misclassification and they
23   risk between 0.7 and 0.9; correct?             23   reported their findings, they did not report
24      A. That's correct.                          24   any findings which would lead to what you
25      Q. If you go back to page 539, and          25   believe happened in the 2018 NCI study; is


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                                      Page 130                                             Page 132
 1   that correct?                                   1       can very well lend under 1.
 2          MS. FORGIE: Object to the form.          2   BY MR. LASKER:
 3      Asked and answered.                          3       Q. And if I understand correctly --
 4          You can answer again.                    4       A. So it's not just the confidence
 5          THE WITNESS: What I see here is a        5   level.
 6      simulation that we do a lot in               6       Q. If I understand correctly then, the
 7      epidemiology. I sometimes make my            7   general expectation is that it would bias
 8      students do this, that shows what the        8   towards the null, but there is still the
 9      potential non-differential                   9   possibility through random error that it
10      misclassification of exposure would do      10   might not. Is that fair?
11      under scenario of different exposure        11          MR. BAUM: Object to the form.
12      prevalences and sensitivity specificity     12          THE WITNESS: Random error in
13      and true relative risk, assuming there      13       one -- of exposure misclassification may
14      is no other bias neither confounding nor    14       make a point estimate in a study land on
15      selection nor any differential              15       the opposite side of the 1, yes.
16      misclassification and no random error       16   BY MR. LASKER:
17      because there's no confidence interval.     17       Q
                                                             Q. The ggeneral expectation
                                                                                 p         would be if
18   BY MR. LASKER:                                 18   you repeat
                                                         y       p these studies over and over
19      Q. Understood.                              19   again,
                                                           g , most of the time yyou're not ggoingg to
20      A. And when you have random error with      20   have that,, but with random error sometimes
21   confidence interval, you will see that it      21   you might?
22   crosses very easily the one.                   22          MS. FORGIE: Object to the form.
23      Q. Understood. And the random error         23          THE WITNESS: That's what the paper
24   when the confidence interval cross -- where    24       says, yes.
25   you say will cross over the 1 --               25   ///

                                      Page 131                                             Page 133
 1         MS. FORGIE: With the what?                1   BY MR. LASKER:
 2         MR. LASKER: The random error in           2      Q. Okay. Let's look at Gray 2000.
 3      which you have confidence intervals          3         (Exhibit Number 30-18 was
 4      which you believe would cross over the 1     4         marked for identification.)
 5      you testified --                             5   BY MR. LASKER:
 6         THE WITNESS: No, no.                      6      Q. What is this marked?
 7         MS. FORGIE: Wait for the question.        7         MS. SHIMADA: 18.
 8      Sorry.                                       8   BY MR. LASKER:
 9   BY MR. LASKER:                                  9      Q. This is a paper that I believe this
10      Q. If I understand correctly then, the      10   one you have seen; correct?
11   point estimate would not cross over the 1,     11      A. Yes, yes.
12   but there would be the possibility of error    12      Q. You cited this one in your paper?
13   that could go below -- that could cross over   13      A. Yes.
14   the 1. Is that your testimony?                 14      Q. And this is one of the publications
15         MS. FORGIE: Object to the form.          15   you cite to -- --
16         THE WITNESS: No, that's incorrect.       16         MS. FORGIE: Wait. Did you give me
17      We are pretending that any study that we    17      a copy of it?
18      are having like the AHS is just -- is       18         MR. LASKER: I believe so.
19      getting -- okay. It is actually what        19   BY MR. LASKER:
20      Jurek and Greenland tried to describe.      20      Q. This is one of the publications
21      We are pretending that a study estimates    21   that you cited to that had -- for criticisms
22      without random error. Once we put           22   of the AHS; correct?
23      random error in then whatever the point     23      A. Yes.
24      estimate in the -- within the confidence    24      Q. Okay. This paper was written in
25      interval is under multiple repetitions      25   2000; correct?


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                                      Page 134                                            Page 136
 1         MS. FORGIE: Object to the form.           1      again?
 2         THE WITNESS: Yes, it was published        2         MR. LASKER: First page of the
 3      in 2000.                                     3      paper, page 47. The abstract.
 4   BY MR. LASKER:                                  4         MS. FORGIE: Thank you.
 5      Q. Published in 2000. We can reaffirm        5   BY MR. LASKER:
 6   this. I've gone through the agricultural        6      Q. In the first paragraph the end of
 7   health study publication list, but are you      7   the paragraph they state, "In this report,
 8   aware of any publication out of the AHS         8   we examine the design of the AHS, identify
 9   cohort that provided findings for an            9   important program strengths and flaws,
10   epidemiologic study for exposure between any   10   suggest various improvements in the program,
11   pesticide and a cancer outcome that was        11   and recommend ancillary studies that could
12   published prior to this Gray paper?            12   be undertaken to strengthen the AHS";
13         MS. FORGIE: Object to the form.          13   correct?
14         THE WITNESS: I'm not certain.            14      A. Yes.
15   BY MR. LASKER:                                 15      Q. And then on page 67 they start
16      Q. Okay. Now, the Gray 2000 paper is        16   going through their recommendations, summary
17   discussing a wide variety of different types   17   of research recommendations for the AHS;
18   of epidemiologic studies that were             18   correct?
19   anticipated in the future using AHS data       19      A. Yes.
20   including both cohort studies, case control    20      Q. The first recommendation that Gray
21   studies, and cross-sectional studies.          21   and his co-authors provide deals with
22      A. Yes.                                     22   assessing the validity of self-reported
23      Q. And various different types of           23   health outcomes; correct?
24   cancer and non-cancer outcomes; correct?       24      A. Yes.
25      A. That's correct.                          25      Q. And for the 2018 NCI study, they're

                                      Page 135                                            Page 137
 1      Q. And on page 50 in this                    1   not using self-reported health outcomes.
 2   publication -- you're right.                    2   They're using cancer data from registries;
 3         MS. FORGIE: I had to use my own           3   correct?
 4      copy. This is 30-18? Thank you.              4      A. Yes, for cancer it's always
 5   BY MR. LASKER:                                  5   registries.
 6      Q. On page 50 at the top in that first       6      Q. So we can agree that this
 7   full paragraph that starts "The design and      7   recommendation is not relevant to the 2018
 8   implementation," about four lines -- five       8   NCI study; correct?
 9   lines in --                                     9         MS. FORGIE: Object to the form.
10         MS. FORGIE: Read as much as you          10         THE WITNESS: For the health
11      want.                                       11      outcome cancer, it's not.
12   BY MR. LASKER:                                 12   BY MR. LASKER:
13      Q. Gray and his co-authors state, "As       13      Q. So the second recommendation is --
14   we emphasize below, we are particularly        14   deals with exploring the reliability and
15   enthusiastic about the prospective cohort      15   validity of pesticide use data; correct?
16   study of cancer outcomes because it responds   16      A. Yes.
17   directly to some of the methodological         17      Q. And in the second sentence in that
18   weaknesses of prior epidemiologic studies of   18   recommendation, one of the things they
19   farmers and pesticides"; correct?              19   recommend, a simple and pertinent step would
20      A. That's what it says.                     20   be to re-administer the questionnaire to a
21      Q. And at page 47 in the introduction       21   sample of respondents to see how much the
22   in the abstract, they explain the purpose      22   answers change; correct?
23   for their paper in 2000. The first             23      A. That's what it says.
24   paragraph --                                   24      Q. We already talked about this and
25         MS. FORGIE: What page are you on         25   now we will have a chance to look at it, the


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                                      Page 138                                            Page 140
 1   NAH investigators who were doing the AHS        1   BY MR. LASKER:
 2   study, in fact, did that analysis in a          2     Q. And in the text underneath that
 3   publication by Blair in 2002; correct?          3   Table 2 --
 4         MS. FORGIE: Object to the form.           4     A. Oh, one thing. These are not
 5         THE WITNESS: There is a Blair 2002        5   correlations. These are exact agreements
 6      paper that I read that reports on            6   and proper statistics. Not correlation.
 7      readministered questionnaires, that's        7     Q. Exact agreements. That gets to the
 8      correct.                                     8   next point I was trying to make which we
 9   BY MR. LASKER:                                  9   were talking about earlier. Under this
10      Q. So let's mark that.                      10   Table 2 they talk about exact agreements and
11         (Exhibit Number 30-19 was                11   the various numbers that they get and they
12         marked for identification.)              12   note, for example, "In addition, exact
13   BY MR. LASKER:                                 13   agreement for years, days per year, and
14      Q. For the record Blair 2002,               14   decades of use of specific pesticides was
15   "Reliability of Reporting on Lifestyle and     15   generally in the 50 to 70 percent range
16   Agricultural Factors by a Sample of            16   which was lower than for dichotomous
17   Participants in the Agricultural Health        17   outcomes such as ever/never use"; correct?
18   Study from Iowa"; correct?                     18     A. I can't see it.
19      A. That's correct.                          19         MS. FORGIE: Take your time.
20      Q. And in the abstract of this              20   BY MR. LASKER:
21   publication, Dr. Blair and his                 21     Q. Table 2, there is the text "exact
22   co-investigators write, and it's the last      22   agreement."
23   sentence of the abstract, "Levels of           23         Do you see that?
24   agreement regarding pesticide use in this      24     A. Yes.
25   population is similar to that generally        25     Q. If you read down the second

                                      Page 139                                            Page 141
 1   found for factors typically used in             1   sentence or third sentence "In addition" --
 2   epidemiologic studies such as tobacco use       2      A. Yeah, yeah.
 3   and higher than typically reported for diet,    3      Q. Okay. "Exact agreement for years,
 4   physical activity, and medical conditions";     4   days per year, and decades of use of
 5   correct?                                        5   specific pesticides was generally in the 50
 6       A. That's correct.                          6   to 70 percent range which was lower than for
 7       Q. And if you turn to page 96, this is      7   dichotomous outcomes such as ever/never
 8   where you were discussing the issue of --       8   use," and that's what you were discussing
 9   well, first of all, on page 95, Table 1,        9   earlier; correct?
10   this is the reliability or the                 10      A. Correct.
11   correspondence for glyphosate which I think    11      Q. Then they state 90 percent of the
12   you actually gave an extra point. It was       12   subjects gave responses within one category
13   82 percent agreement from one questionnaire    13   of agreement on the two questionnaires;
14   to the other for never ever use; correct?      14   correct?
15       A. Yes, but the Kappa is .54.              15      A. Yes.
16       Q. And then on Table 2, I believe          16      Q. So while there was 50 to 70 percent
17   you're talking about the issue of              17   exact agreement, where there was not exact
18   correlations for years mixed -- days per       18   agreement, 90 percent of them or overall
19   year mixed and decades first applied;          19   90 percent of them were still within one
20   correct?                                       20   category of agreement; correct?
21           MS. FORGIE: Object to the form.        21         MS. FORGIE: Wait. Object to the
22           THE WITNESS: Years mixed and           22      form.
23       applied, days, years, mixed and decade     23         THE WITNESS: That is correct.
24       first applied, yes.                        24      However, these categories are quite
25   ///                                            25      broad. So the -- this agreement can be


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                                      Page 142                                            Page 144
 1      quite -- I mean, they can guess quite a      1   of their paper; correct?
 2      bit.                                         2         MS. FORGIE: Hold on a second.
 3   BY MR. LASKER:                                  3         THE WITNESS: Exposure surrogates
 4      Q. Do you know what the categories           4      and exposure, yes.
 5   are?                                            5   BY MR. LASKER:
 6      A. Yes. They are one year, five to           6      Q. Okay. And in this recommendation
 7   ten -- four to five years, five to ten          7   they are recommending that biomonitoring
 8   years, and then ten to twenty. So depending     8   studies be conducted to better understand
 9   on what we're talking about, if it's years      9   the relationship between exposure surrogates
10   mixed and applied, et cetera.                  10   and exposure; correct?
11      Q. And days per year, do you know what      11      A. That's what they recommend.
12   those categories are?                          12      Q. And as we've already discussed, and
13      A. Decades, days per year -- the            13   I think you've already mentioned the NIH
14   decades were really decades. So --             14   investigators who were conducting research
15      Q. And days per year? Do you remember       15   with the agricultural health study
16   the categories?                                16   subsequently did do a number of
17          MS. FORGIE: Hold on. Give her a         17   biomonitoring studies of the type that was
18      second.                                     18   being recommended here; correct?
19          THE WITNESS: It was something like      19         MS. FORGIE: Object to the form.
20      one to ten, and then there was I think      20         THE WITNESS: They did
21      the highest category was 50 plus.           21      biomonitoring of current time in a very
22          MS. FORGIE: Take your time. Don't       22      small subset of less than a hundred
23      feel rushed.                                23      people among 56,000 workers -- 56,000
24   BY MR. LASKER:                                 24      applicators that they asked these
25      Q. With respect to the exact agreement      25      questions about including questions that

                                      Page 143                                            Page 145
 1   even with the years mixed, the days per         1      went back as far as '74, and we agreed
 2   year, the decades first applied, if you look    2      before that practices change. So
 3   at the second column on 96 towards the          3      whatever that biomonitoring shows may or
 4   bottom in the text when they looked at          4      may not represent what changed.
 5   vegetable servings per day and fruit            5   BY MR. LASKER:
 6   servings per day, glyphosate still did          6      Q. I understand. But Gray, et al., in
 7   better; correct?                                7   the 2000 paper were recommending that the
 8          MS. FORGIE: Object to the form.          8   investigators who were conducting research
 9          THE WITNESS: Yes, I'm not                9   with the AHS study conduct biomonitoring
10      surprised because vegetable servings per    10   studies and the investigators in the AHS
11      days and fruit servings per days change     11   then followed up and conducted biomonitoring
12      a lot, and it depends on when you ask       12   studies; correct?
13      these. Seasonal.                            13         MS. FORGIE: Objection. Asked and
14   BY MR. LASKER:                                 14      answered.
15      Q. Let's go back to the 2011 -- I'm         15         You can answer it again.
16   sorry, the 2000 Gray report.                   16         THE WITNESS: I'm not certain that
17          MS. FORGIE: Hold on a second.           17      they're following these recommendations.
18      We're putting the 19 away?                  18      They may have decided on their own that
19          MR. LASKER: Yeah.                       19      they needed biomonitoring studies.
20   BY MR. LASKER:                                 20   BY MR. LASKER:
21      Q. And the next category that they          21      Q. That's fair. That's fair.
22   talk about deals with understanding the        22         The next recommendation that the
23   relationship between exposure surrogates and   23   Gray investigators have in their 2000 paper
24   exposure, and that's on the next               24   is assessing the biological plausibility of
25   recommendation from Gray, et al., on page 68   25   any association; correct?


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 1      A. Yes.                                      1   here would be typical of a major
 2      Q. And while we may disagree with what       2   investigation, investigator initiated
 3   the assessment is of biological plausibility    3   proposal that is peer-reviewed and judged to
 4   in this case, it is fair to say that by the     4   be worthy of funding by the National
 5   time of the 2018 NCI study, there are           5   Institutes of Health"; correct?
 6   extensive studies by which one could address    6      A. That's what it says.
 7   the issue of biological plausibility between    7      Q. In the 18 years that have followed
 8   glyphosate-based herbicides and                 8   the Gray paper, the AHS investigators have
 9   non-Hodgkin's lymphoma; correct?                9   published over a hundred -- maybe over 200
10         MS. FORGIE: I'm sorry. I just see        10   different peer-reviewed publications coming
11      these hands in the air. What are the        11   out of that cohort; correct?
12      fingers?                                    12          MS. FORGIE: Object to the form.
13         MR. LASKER: Eight minutes left, I        13          THE WITNESS: They have published a
14      think.                                      14      lot.
15         THE WITNESS: Now I'm confused.           15   BY MR. LASKER:
16      Say it again.                               16      Q. And they have continued to go back
17   BY MR. LASKER:                                 17   to NAH to receive additional funding;
18      Q. By the time of the 2018 NCI study        18   correct?
19   was conducted, there was a body of             19          MS. FORGIE: Object to the form.
20   scientific evidence --                         20          THE WITNESS: They actually had a
21      A. It's not an NCI study. It's the          21      lot of difficulty getting funding.
22   AHS study published in the Journal of NCI.     22   BY MR. LASKER:
23      Q. At the time of the study in the          23      Q. They have continued to receive
24   Journal of NCI was published in 2018 on        24   continued funding from NAH; correct?
25   glyphosate-based herbicides and cancer         25          MS. FORGIE: Object to the form.

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 1   generally, there is a full body of evidence     1      Asked and answered.
 2   by which the investigators can look at this     2          You can answer it again.
 3   issue of biological plausibility. They may      3          THE WITNESS: There are different
 4   reach different conclusions but the evidence    4      ways of getting funding. One is
 5   is in existence; correct?                       5      internal funding and one is external
 6           MS. FORGIE: Object to the form.         6      funding. The internal funding is not
 7           THE WITNESS: They would have            7      reviewed in the same way as external
 8      looked at biologic evidence, yes, and        8      funding. For the maintenance of the
 9      there is some biologic evidence, but I       9      cohort, they got internal funding that
10      don't know what they looked at because      10      is not as peer-reviewed as any study
11      it's not, you know --                       11      that would be external.
12   BY MR. LASKER:                                 12   BY MR. LASKER:
13      Q. That's fair enough.                      13      Q. Okay. And as we discussed in
14           So then the next recommendation in     14   our -- over the course of the deposition
15   the Gray paper is analysis and statistical     15   here today, the AHS investigators also did a
16   issues; correct?                               16   variety of different -- conducted a variety
17      A. Yes.                                     17   of different analyses in separate studies to
18      Q. And the Dr. Gray states, second          18   look at possibilities of exposure
19   paragraph, "The general study plan of the      19   misclassification. They did biomonitoring
20   AHS is not yet detailed enough to support a    20   studies and within the 2018 NCI studies,
21   confident evaluation of the technical          21   they conducted a variety of sensitivity
22   strengths and weaknesses of this major         22   analyses; correct?
23   undertaking, and we recommend substantial      23          MS. FORGIE: Object to the form.
24   efforts towards developing such a plan, the    24          THE WITNESS: They have attempted
25   level of effort of detail we are suggesting    25      as much as they could to wrap their mind


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                                   Page 150                                           Page 152
 1   around potential exposure                   1         MS. FORGIE: Well, I completely
 2   misclassification. It doesn't mean that     2      disagree with the way that the break
 3   they succeeded and it didn't mean they      3      time was interpreted in your statement
 4   succeeded for every pesticide.              4      because when we took the break, I
 5      MR. LASKER: Take a break. I've           5      thought you were going to come back and
 6   got three minutes left. I'm going to        6      ask more questions. That was the
 7   see if I've got three minutes of            7      implication. So we took a break for you
 8   questions.                                  8      to gather your thoughts and use the
 9      THE VIDEOGRAPHER: We are off the         9      last -- what I thought was using the
10   record at 4:35 p.m.                        10      last of your three-and-a-half minutes,
11      (Recess taken from 4:35 p.m. to         11      and instead when we came back you said
12      4:48 p.m.)                              12      I'm going to reserve those
13      THE VIDEOGRAPHER: We are back on        13      three-and-a-half minutes at which point
14   the record at 4:48 p.m.                    14      we took a break to prepare.
15      MR. LASKER: I'm going to reserve        15         MR. LASKER: I understand. And
16   my remaining 3 minutes and 30 seconds.     16      that subsequent break was 42 minutes.
17   I have no further questions unless         17         Go ahead.
18   there's questions from plaintiff's         18         MS. FORGIE: Whatever.
19   counsel.                                   19
20      MS. FORGIE: Okay. Let's take a          20              EXAMINATION
21   break. I didn't know. I thought you        21   BY MS. FORGIE:
22   were going to --                           22     Q. Doctor, you were asked a series of
23      THE VIDEOGRAPHER: We're off the         23   questions about whether the same imputation
24   record at 4:48 p.m.                        24   method was used for other AHS publications
25      (Recess taken from 4:48 p.m. to         25   that were peer-reviewed. Do you remember

                                   Page 151                                           Page 153
 1       5:31 p.m.)                              1   those series of questions?
 2       THE VIDEOGRAPHER: We are back on        2      A. Yes, I do.
 3   the record at 5:31 p.m.                     3      Q. Does the use of imputation in these
 4       MS. FORGIE: Counsel said he has a       4   studies make the use of imputation for
 5   statement to make.                          5   glyphosate more reliable?
 6       MR. LASKER: Yes. By my count,           6      A. Absolutely not.
 7   counsel has been off with the expert        7      Q. Can you explain why not?
 8   witness for 42 minutes since the close      8      A. You can use the same method, but
 9   of my questioning, and that's on top of     9   you're trying to impute a different type of
10   another 13-minute period of time they      10   exposure, and it really depends on the type
11   spent when I took the break with only a    11   of exposure that you're trying to impute
12   couple minutes left in my deposition       12   whether the mechanism will work. So a
13   time. Certainly both parties have          13   generic imputation mechanism should be
14   extended the other side reasonable time    14   considered valid within the confines of what
15   to sort of gather their notes and          15   you're trying to predict. So that
16   prepare for whatever additional            16   imputation mechanism may work very well when
17   questioning they have, but this is         17   there is non-time varying exposure, and you
18   excessive and we object to the amount of   18   have a lot of variables that can predict
19   time that's been spent in that effort.     19   this exposure, but it doesn't work if
20   So, again, noting for the record the       20   there's a lot of change in time varying
21   amount of time spent and our objection     21   exposure, and you have too long of a
22   to the line of questioning given this      22   distance between the times that you're
23   amount of preparation that's obviously     23   asking the questions and when you're asking
24   been put into it, I will now tender the    24   the question, you're not asking the right
25   witness.                                   25   questions.


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                                      Page 154                                            Page 156
 1      Q. Okay. Do you recall the Bonner            1     A. Yes.
 2   study that we discussed earlier?                2     Q. Okay. Let me attach -- do you know
 3      A. Yes.                                      3   what's next?
 4      Q. Can you pull out, I believe it's          4         (Discussion off the record.)
 5   30-8, please.                                   5         MS. FORGIE: I'm going to mark your
 6      A. Yes, here it is.                          6     original report as 30-20.
 7      Q. Can you please turn to page 5?            7         MR. LASKER: Objection to the
 8          MR. LASKER: I've got it. Page 5          8     extent that we weren't supposed to talk
 9      makes no sense because there's 500.          9     about her original report. That was
10          MS. FORGIE: I stopped mid sentence      10     your objection, but that's fine.
11      to see if you have. It's page 546.          11         MS. FORGIE: Right. I think I can
12          MR. LASKER: I have it.                  12     tie it in.
13   BY MS. FORGIE:                                 13         MR. LASKER: Okay. Things have
14      Q. Page 546. Can you look at in the         14     been changing all over the place here.
15   first column the second full                   15         (Exhibit Number 30-20 was
16   paragraph starting out with "We used."         16         marked for identification.)
17      A. Right.                                   17         MS. FORGIE: I lost my train of
18      Q. Can you read that, please, into the      18     thought.
19   record?                                        19         THE WITNESS: Non-differential.
20      A. "We used PROC MIANALYZE (SAS 9.3)        20   BY MS. FORGIE:
21   to confirm multiple imputation approach.       21     Q. Right. Is that in your original
22   For the pesticides dieldrin, 2,4, 5-TP,        22   report which is Exhibit 30-20?
23   parathion, chlordane, DDT, heptachlor and      23     A. Yes.
24   toxaphene, there was no variability between    24         MR. LASKER: Objection to form.
25   the five imputed sets because the              25     Beyond the scope.

                                      Page 155                                            Page 157
 1   registration had been canceled before the       1   BY MS. FORGIE:
 2   phase 2 interviews were conducted."             2       Q. What page is that on?
 3      Q. Do you attach any significance to         3       A. I talk about information bias and
 4   that paragraph or that sentence?                4   mismeasurement of exposure on page 8.
 5      A. Yes, that is exactly the kind of          5       Q. So those opinions are included in
 6   sentence that states in writing by the AHS      6   your report; correct?
 7   investigators what I tried to explain here      7       A. Correct.
 8   to counsel when I said it makes a very big      8          MR. LASKER: Objection to form.
 9   difference in the imputation results whether    9   BY MS. FORGIE:
10   you have time varying versus non-time          10       Q. Do agree that AHS participants
11   varying exposures and that it's especially     11   would be less likely to use protective
12   easy to get good, reliable imputations when    12   equipment when applying glyphosate compared
13   exposure has pretty much stopped, and that     13   to when they apply other pesticides that are
14   is especially hard when exposure continues.    14   perceived as acutely dangerous?
15   It not only continues but changes heavily.     15          MR. LASKER: Objection to form.
16      Q. Anything else?                           16       Calls for speculation.
17      A. That's it.                               17          THE WITNESS: As somebody who has
18      Q. Okay. You were also asked several        18       done pesticide studies and knows how
19   questions about whether or not                 19       people act and report, I would think
20   non-differential exposure misclassification    20       that, yes, they would report their
21   and also about bias away from the null. Do     21       behavior differently, and they would
22   you remember those questions?                  22       also use different protective equipment
23      A. Yes.                                     23       depending on how dangerous they consider
24      Q. You were asked if those opinions         24       the task that they're doing is.
25   were in your report. Do you remember that?     25   ///


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                                      Page 158                                            Page 160
 1   BY MS. FORGIE:                                  1   protective equipment used to generate a
 2      Q. Can you explain what you mean by --       2   generic algorithm, and it's a generic
 3   what is the difference in pesticides in         3   algorithm in which the number of days,
 4   terms of acute danger?                          4   frequency of use per year, and the duration
 5      A. Right. So there are herbicides,           5   of use gets down weighted if you say that
 6   and there are pesticides that are called        6   you're wearing -- that you're using
 7   insecticides, and there's specifically a        7   protective equipment or that you're applying
 8   class of insecticides that are called           8   in a certain way that we know like using a
 9   organophosphates that are derived from          9   closed cab of a tractor that we know reduces
10   serine gas which is a neurotoxin as we know.   10   exposure. So somebody that would have used
11   And these kind of pesticides generate acute    11   glyphosate for ten years and reports using a
12   effects so that the farmers would actually     12   enclosed cab or a chemically-resistant glove
13   who are susceptible to these kind of OP        13   would then get a .2 weight, let's say, for
14   pesticides and use them and get exposed and    14   example, and from 10 your numbers would be
15   we know because they are because               15   reduced to 2. That would happen for every
16   chlorpyrifos is one of them and we measure     16   pesticide in the same way whether or not you
17   that in the urine. That's in one of the        17   use the resistant gloves only for the OPs or
18   papers. They actually have acute sensations    18   also for glyphosate. And we know that all
19   that are very unpleasant, and they would       19   of these farmers applied multiple
20   definitely want to avoid those. They're        20   pesticides, and we have no idea for which
21   flu-like systems. They're developing over a    21   pesticide they reported protective equipment
22   few days.                                      22   used or for which pesticide they reported
23      Q. Can they also get rashes?                23   what application method.
24      A. They could get rashes. There are         24      Q. Okay. You were also asked a
25   lots of acute effects. If you have had them    25   question about what weight you would give

                                      Page 159                                            Page 161
 1   once or twice, you learned your lesson.         1   the AHS study, the 2018 AHS publication with
 2      Q. How does that affect whether or not       2   regard to your opinions in this case. Do
 3   you're going to use protective equipment?       3   you remember that question?
 4      A. I would think that a farmer who has       4      A. Yes.
 5   these acute sensations would actually make      5      Q. Can you clarify or expand upon what
 6   sure that he doesn't spill those pesticides     6   weight exactly you would give the 2018 AHS
 7   and wears chemically-resistant clothes,         7   study?
 8   gloves, and follows the instructions on the     8         MR. LASKER: Objection to form.
 9   labels for the pesticides and his education     9         THE WITNESS: It definitely has to
10   on how to handle pesticides much more          10      be reviewed, and it definitely needs to
11   closely than if you have no acute effect at    11      be considered. However, as I tried to
12   all from handling pesticides.                  12      explain, there is some weight to every
13      Q. Okay. So in the AHS study, did           13      study. Some studies have a larger
14   they distinguish between whether or not you    14      weight than others. The way I determine
15   were using protective gear for a specific      15      that is by looking at the potential
16   pesticide, or was it more general?             16      biases that these studies may have as
17      A. It was completely general. It's          17      well as the size of the study and
18   one question that refers to a -- when you      18      sensitivity analyses that do help me or
19   handle pesticides, what do you do, how do      19      don't help me to determine whether these
20   you apply them and what kind of protective     20      biases have been taken care of, and
21   equipment do you use.                          21      overall, I feel these sensitivity
22      Q. How would that affect, for example,      22      analyses done in this 2018
23   intensity weighting in the AHS study?          23      publication -- let's call it 2018 -- all
24      A. Well, they're using these two            24      make a lot of assumptions under which
25   questions, the type of application and the     25      that I wouldn't agree with. Each of the


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 1      sensitivity analyses makes another           1   out, please.
 2      assumption that would only give you a        2          MR. LASKER: Objection to form.
 3      piece of the puzzle. It never considers      3          Are you limiting this to the NHL or
 4      the whole realm of biases that you have      4      are we talking about all the other
 5      to actually consider.                        5      cancers as well?
 6   BY MS. FORGIE:                                  6          MS. FORGIE: We're talking about
 7      Q. And does that fit in any way into         7      NHL.
 8   the way you look at -- and I never say this     8          MR. LASKER: NHL or subtypes.
 9   right but heterogeneity?                        9      Okay.
10          MR. LASKER: Object to form.             10          MS. FORGIE: It's the same.
11          THE WITNESS: So what we usually         11          THE WITNESS: So it's actually
12      do, we try to do is learn from              12      interesting that most of the relative
13      differences in estimates between            13      risks above 1 start to appear when
14      studies, and the way we do that is by       14      you're doing a 20-year lag. So you have
15      exploring studies by design and by          15      the 1.17, 1.15. You even have a 2.97
16      method in terms of what they're telling     16      for non-Hodgkin's lymphoma T cells.
17      us about what the possible biases and       17          MR. LASKER: Objection to form.
18      what the possible flaws and the possible    18   BY MS. FORGIE:
19      strengths of each of these study types      19      Q. Why do you think it's interesting
20      are, and that's what I've been doing.       20   that those relative risks above 1 appear in
21   BY MS. FORGIE:                                 21   the 20-year lag period?
22      Q. Is there anything in the 2018 AHS        22          MR. LASKER: Objection to form.
23   publication that changes any of your           23      Beyond the scope.
24   opinions in your original expert report?       24          THE WITNESS: Because that lag
25      A. No.                                      25      period excludes the major period of

                                      Page 163                                           Page 165
 1      Q. Is there anything in the 2018 AHS         1      change of glyphosate, and that's where
 2   publication that changes any of your            2      all of or a lot of the exposure
 3   opinions as expressed in your rebuttal          3      assessment misclassification happened.
 4   report?                                         4      So once we get rid of that period but we
 5      A. No.                                       5      make another big assumption, meaning
 6      Q. Is there anything in the 2018 AHS         6      that any of those exposures are
 7   publication that changes any of your            7      irrelevant for NHL which I don't want to
 8   opinions as expressed in your deposition?       8      make, but once we do that, we see that
 9      A. No.                                       9      the exposures prior to 1995 seem to at
10      Q. You were asked several questions         10      least suggest that there are quite a few
11   about relative risks in the 2018 AHS study.    11      risk ratios above 1.
12   Do you remember those questions?               12          MR. LASKER: Objection to form.
13      A. Yes.                                     13   BY MS. FORGIE:
14      Q. Are there any relative risks -- and      14      Q. Just to clarify, you're looking at
15   you can turn to the study which is -- I        15   the 2018 AHS publication Table 3; is that
16   can't remember the number, but we'll find      16   correct?
17   out.                                           17      A. Yes, correct.
18         MR. LASKER: 30-11.                       18      Q. Okay. And what is the relative
19         THE WITNESS: Yeah.                       19   risk, for example, for diffuse large B cell
20   BY MS. FORGIE:                                 20   lymphoma in the 20-year lag period?
21      Q. Okay. In 30-11 in the actual             21          MR. LASKER: Objection to form.
22   publication, are there any relative risks in   22          THE WITNESS: It's 1.35 for the
23   there that are actually above 1?               23      20-year lag and the highest exposure
24      A. Yes, there are plenty.                   24      level, and it's 1.24 in that medium.
25      Q. Can you point just a few of those        25          MR. LASKER: For purposes of


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 1      completion, the quote, quartile 1, it's      1   all.
 2      0.89, and for quartile 3, it's 0.9 in        2      Q. You were asked several questions
 3      the same chart.                              3   about biomonitoring studies and sensitivity
 4          THE WITNESS: Correct, because it's       4   analysis that were recommended for the AHS
 5      classification.                              5   study. Do you remember those questions?
 6          MS. FORGIE: Wait, wait, I'm asking       6      A. Yes.
 7      the questions, not Eric, despite his         7      Q. Did any of those sensitivity
 8      attempt to jump in.                          8   analysis publications or bio -- let's start
 9   BY MS. FORGIE:                                  9   one at a time. Did any of the sensitivity
10      Q. Did the 2018 AHS publication use         10   analysis publications solve any of the
11   the same method in terms of comparing high     11   substantial problems that you've addressed
12   doses to low doses as the 2005 DeRoos          12   with regard to the 2018 publication?
13   publication?                                   13      A. No, because they only address a
14      A. No, it doesn't.                          14   partial picture at a time. They never
15      Q. And for purposes of clarification,       15   address the whole picture.
16   is the 2005 DeRoos study also an AHS --        16      Q. Did any of the biomonitoring
17      A. Yes.                                     17   studies or publications that you were asked
18      Q. -- publication. Okay.                    18   about solve any of the problems which you
19          What is the difference in the           19   discussed with regard to the AHS
20   method?                                        20   publication?
21          MR. LASKER: Objection to form.          21      A. No, they don't. And that's because
22      Beyond the scope, outside of her            22   biomonitoring studies are really short-term
23      opinions in her supplemental expert         23   studies. They do not tell you what happens
24      report.                                     24   over a 30-year period. When we talk about
25          THE WITNESS: So what DeRoos did is      25   cancer, we really have to consider chronic

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 1      she used tertiles of exposure but only       1   exposures over a long period of time.
 2      among the exposed. So if she's               2         And biomonitoring gives you
 3      comparing low to high exposure, assuming     3   something very acute and within the period
 4      that these people are more exchangeable      4   that you're doing the biomonitoring, and
 5      or more similar with respect to all risk     5   you're only doing it in a hundred people or
 6      factors to NHL, then farmers who use         6   less because it's expensive. And then
 7      absolutely no glyphosate compared to         7   you're assuming that they're representative
 8      those who either use less or a lot of        8   of the whole cohort in terms of what you're
 9      glyphosate.                                  9   learning from them.
10   BY MS. FORGIE:                                 10      Q. And you were asked several
11      Q. And why is that important?               11   questions about whether or not there were
12      A. It is very important because it          12   publications that support your statements in
13   points out residual confounding.               13   your supplemental report. Do you remember
14      Q. What is residual confounding?            14   those questions?
15      A. Residual confounding can bias            15      A. Yes.
16   estimates in any direction, and if residual    16         MR. LASKER: Objection to form.
17   confounding for the non-exposed to             17   BY MS. FORGIE:
18   glyphosate means there are risk factors that   18      Q. And are there such publications
19   we haven't taken care of, we would have an     19   that support your opinions?
20   increased risk among the non-exposed which     20      A. Yes, there are.
21   would then give us protective effects for      21      Q. And can you just tell me a couple
22   glyphosate that we haven't taken care of.      22   of those, please?
23      Q. And do you think that glyphosate         23      A. Yeah, the Gray paper. It's the
24   has a protective effect with regard to NHL?    24   Blair 2002 paper. It's the Ward editorial
25      A. I would not make that assumption at      25   for the AHS 2018, and it's the Acquavella


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 1   paper from -- I don't know when it was.         1   BY MS. FORGIE:
 2         MR. LASKER: 1997?                         2     Q. And how does that fit into your
 3         THE WITNESS: Yeah.                        3   supplemental report, or how does it support
 4         MR. ESFANDIARY: 2016.                     4   your supplemental report?
 5         MR. LASKER: No, 1997 and she said,        5         MR. LASKER: Objection to form.
 6     yeah. Please don't testify for the            6         MS. FORGIE: Let me rephrase it so
 7     witness.                                      7     it's not compound.
 8         (Simultaneous cross-talk                  8   BY MS. FORGIE:
 9         interrupted by the reporter.)             9     Q. How does that statement from the
10         MS. FORGIE: I don't think we have        10   Gray article support your supplemental
11     it.                                          11   report?
12   BY MS. FORGIE:                                 12         MR. LASKER: Objection to form.
13     Q. Let's go to the Gray paper. What          13         THE WITNESS: Well, it helps my
14   exhibit number is that, please?                14     argument that I've been making that you
15     A. This is Exhibit Number 30-18.             15     really need to in situations where
16     Q. Can you tell me what in 30-18 in          16     exposures are time changing, you need
17   the Gray paper supports your statements in     17     follow-up surveys to assess exposures
18   your supplemental report, please?              18     that are changing. You cannot just go
19         MR. LASKER: Objection to form.           19     with a baseline assessment of exposure
20     The witness has already prepared a           20     ignoring all the changes in exposure,
21     supplemental report and she cited parts      21     and they're also saying you need
22     of authority Gray 2000. This is not          22     follow-up surveys that should be
23     proper redirect.                             23     administered on a regular basis. Five
24   BY MS. FORGIE:                                 24     years is a very long period between
25     Q. You can answer.                           25     interviews, and it's not just five years

                                      Page 171                                           Page 173
 1       A. I before was shown all of the --         1      because the interviewing took them
 2   all of the notes that these authors made in     2      three, four, or five years for 56,000.
 3   terms of what would improve the study and       3      It's actually up to nine or ten years
 4   told that this would be really solving the      4      between surveys.
 5   problems. Well, they are pointing out under     5   BY MS. FORGIE:
 6   study design perspective cohort studies --      6      Q. Is there anything else in the Gray
 7       Q. Can you tell us what page you're         7   article that supports your opinions as
 8   on?                                             8   expressed in your supplemental report?
 9       A. Yeah, it's page 64. Exactly the          9      A. Yeah, they're also under the
10   two points or the two of the four points I'm   10   same -- the second paragraph, the last
11   making. One is at the end of the first         11   sentence it says, "Overall, though, we are
12   paragraph where it says --                     12   very enthusiastic with the decision of the
13          MR. LASKER: I'm sorry. Where are        13   AHS team to investigate in the perspective
14       you? The top of the page?                  14   court" --
15          THE WITNESS: 64 end of the first        15      Q. Investigator --
16       paragraph.                                 16          MR. LASKER: Why don't you start
17          MR. LASKER: Paragraph starting          17      that over again.
18       "Determining exposure status prior to"?    18          THE WITNESS: "Overall, though, we
19          THE WITNESS: Yes. So the last           19      are very enthusiastic about the decision
20       sentence here states, "It is critical      20      of the AHS team to invest in the
21       that follow-up surveys of the cohort be    21      perspective court design and encourage
22       administered on a regular basis to         22      the investigators to make every feasible
23       document how exposure and disease states   23      effort to achieve acceptable response
24       change as subjects age."                   24      rates in the follow-up surveys of the
25   ///                                            25      cohort and address potential biases in


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 1      the study."                                  1   BY MS. FORGIE:
 2         So acceptable response rates are          2      Q. You can answer.
 3      very important, and a 63 percent             3      A. It explains exactly the argument
 4      response rate when you have to update        4   I've been making about non-differential
 5      exposures that are changing I don't          5   misclassification doing what I said it
 6      think are acceptable.                        6   would.
 7   BY MS. FORGIE:                                  7      Q. With regard to -- do we have
 8      Q. Okay. Anything else in the Gray           8   another sticky, please.
 9   study?                                          9         MR. LASKER: I gave them all to
10      A. That's it.                               10      you.
11      Q. Okay. And turning now to the Blair       11         MS. FORGIE: Thank you. I'm going
12   publication which I believe is in there.       12      to mark as 21 the Acquavella article.
13      A. Yes.                                     13         (Exhibit Number 30-21 was
14      Q. Let's find the number first.             14         marked for identification.)
15      A. 30-19.                                   15         MS. FORGIE: Or is that already in
16      Q. Let's wait until they find it.           16      there, the 2006 Acquavella.
17         MR. LASKER: Okay.                        17         THE WITNESS: I don't think so.
18   BY MS. FORGIE:                                 18         MS. FORGIE: I only have one copy.
19      Q. What in that Blair 2002 article          19      We'll do the other one first. Let's do
20   supports your opinions as expressed in your    20      30-22.
21   supplemental report, please.                   21         (Exhibit Number 30-22 was
22         MR. LASKER: Objection to form.           22         marked for identification.)
23   BY MS. FORGIE:                                 23   BY MS. FORGIE:
24      Q. You can answer.                          24      Q. Can you tell me what I've just
25      A. Page 98, the second column, first        25   marked as Exhibit 30-22, the Ward editorial.

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 1   paragraph, so it's pretty much the second to    1   Can you tell me what that is, please.
 2   last --                                         2          MR. LASKER: Objection to form.
 3           MR. LASKER: I'm sorry. Where are        3       Beyond the scope. This document was not
 4       you? Second column?                         4       even discussed during the direct
 5           THE WITNESS: Second column. There       5       deposition.
 6       are two columns. The right column. In       6   BY MS. FORGIE:
 7       the middle of that first                    7       Q. You can answer.
 8       paragraph column it states, "If the true    8       A. It's an editorial written by
 9       relative risk was two," do you have         9   Elizabeth Ward, who is a very well-known
10       that.                                      10   pesticide and cancer researcher on the
11           MR. LASKER: Yeah, I'm with you.        11   glyphosate use and cancer incidence in the
12           THE WITNESS: "Calculated relative      12   AHS study in epidemiologic perspective. So
13       risks for individual pesticides would be   13   it's an editorial on the actual NCI 2018
14       from 1.1 to 1.6. Even though the level     14   study.
15       of agreement is quite high, the impact     15       Q. Do you know if it was published in
16       of misclassification in this range on      16   the same journal at the same time as the
17       the relative risk can be substantial and   17   2018 AHS publication?
18       diminish the opportunity to detect real    18       A. That's what it looks like.
19       associations."                             19       Q. Okay. And can you tell me what in
20   BY MS. FORGIE:                                 20   this Ward editorial supports your opinions
21       Q. And how does that statement from        21   as expressed in your supplemental expert
22   the Blair article support the opinions that    22   report, please.
23   you expressed in your supplemental report?     23       A. Yes. On page 2, the first long
24           MR. LASKER: Objection to form.         24   paragraph on the left, the last sentence.
25   ///                                            25       Q. Can you read that?


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 1         MR. LASKER: Hold on a second.            1   objection to form and beyond the scope
 2      Where are you?                              2   of direct examination in this case.
 3         THE WITNESS: Page 2. First               3      THE WITNESS: Yes. The title of
 4      paragraph. The end, the last sentence.      4   the whole paper is exposure
 5         MR. LASKER: "Thus although"?             5   misclassification in studies of
 6         THE WITNESS: "Thus although."            6   agricultural pesticides insights from
 7         MR. LASKER: Thank you.                   7   biomonitoring. The conclusion of this
 8         THE WITNESS: "Thus although              8   abstract of the study states "Our
 9      pesticide applicators likely provide the    9   results demonstrates the importance of
10      best opportunity for investigating the     10   collecting type of pesticide formulation
11      risk associated with glyphosate            11   and suggests a generic exposure
12      exposure, the intermittent nature and      12   assessment is likely to result in
13      range of exposure may limit the ability    13   appreciable exposure misclassification
14      of studies in this population to detect    14   for many pesticides." When you look at
15      cancer hazards."                           15   what he means by generic, he points out
16   BY MS. FORGIE:                                16   "Dosemeci, et al., recently proposed a
17      Q. Can you explain how that statement      17   generic algorithm for using
18   supports the opinions that you gave as        18   questionnaire information to develop an
19   expressed in your supplemental report,        19   average lifetime exposure intensity
20   please?                                       20   score for specific pesticides. This
21         MR. LASKER: Object to form.             21   score could then be used as a multiplier
22         THE WITNESS: What it points to is       22   of days of use to produce an
23      the possibility of exposure                23   intensity-weighted estimate of
24      misclassification due to the               24   cumulative exposure."
25      intermittent nature and the range of       25      MR. LASKER: I'll also object to

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 1     exposures and, therefore, the                1      form -- object to the entire line of
 2     opportunities to generate                    2      questioning about this article because
 3     nondifferential misclassification of         3      it is not listed in the reference list
 4     exposure especially over a very long         4      of the articles that Dr. Ritz relied
 5     period of time and especially in             5      upon in connection with her supplemental
 6     environment where exposures change.          6      report, and the fact that it has been
 7        MS. FORGIE: Give us one minute            7      shown to her during the break after
 8     while we get that extra copy and then        8      direct questioning does not make it
 9     we're almost done.                           9      something that she's relied upon for her
10        MR. LASKER: Don't forget my              10      supplemental report. She clearly did
11     3 minutes and 30 seconds.                   11      not. It's not in her materials, and,
12        MS. FORGIE: I'm sure if I did            12      therefore, this whole line of
13     forget it, you would remind me.             13      questioning is improper.
14        MR. LASKER: So what is this,             14          MS. FORGIE: I don't agree with any
15     30-20?                                      15      of those statements.
16        MS. FORGIE: Didn't we mark it the        16   BY MS. FORGIE:
17     Acquavella?                                 17      Q. Going back to just that one
18        THE WITNESS: 21.                         18   statement in the conclusion section, the one
19   BY MS. FORGIE:                                19   where it says it is likely to result in
20     Q. 30-21. And is there anything in          20   appreciable exposure misclassification for
21   what we've marked now as 30-21, the           21   many pesticides.
22   Acquavella study from 2006, that supports     22          Do you see that?
23   your opinions as expressed in your            23      A. Yes.
24   supplemental expert report?                   24      Q. Can you tell me how that supports
25        MR. LASKER: Objection to scope,          25   your opinions as expressed in your


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 1   supplemental report?                           1        MR. LASKER: Objection to form.
 2        MR. LASKER: Objection to form.            2   BY MS. FORGIE:
 3        THE WITNESS: Because the algorithm        3     Q. Do you know who Dr. Acquavella is?
 4     they developed is really a generic           4     A. Yes.
 5     algorithm, meaning that they are using       5     Q. Who is he?
 6     duration and frequency and weighing it       6     A. Dr. Acquavella was, for some time,
 7     according to the exact same weights for      7   employed by Monsanto as their epidemiologist
 8     every pesticide. So if somebody reports      8   and he came to several of the AHS study
 9     a protective equipment used, then that       9   meetings, one of them to actually talk about
10     protective equipment is presumed to be      10   biomonitoring to the panel.
11     used for every single pesticide; so         11        MS. FORGIE: Okay. I don't have
12     every single pesticide will be weighted     12     any questions.
13     accordingly whether or not that             13        MR. LASKER: You mean any further
14     protective equipment was actually used      14     questions?
15     for one and not the other pesticide is      15        MS. FORGIE: Any further questions.
16     not known and is not taken into             16        MR. LASKER: Let's take a quick
17     consideration. Neither are the              17     break so we can get ourselves organized
18     formulations of pesticides.                 18     but nobody leave the room. This will
19        MR. LASKER: Further objection to         19     not be 40 minutes.
20     this line of questioning because there      20        THE VIDEOGRAPHER: We're off the
21     would be no opportunity for defense         21     record at 6:05 p.m.
22     counsel to be prepared to question          22        (Recess taken from 6:05 p.m. to
23     Dr. Ritz on a paper that she did not        23        6:06 p.m.)
24     include in her reference list for her       24        THE VIDEOGRAPHER: We are back on
25     supplemental expert report, did not         25     the record at 6:06 p.m.

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 1      mention in her supplemental expert          1            FURTHER EXAMINATION
 2      report and the fact that this is new        2   BY MR. LASKER:
 3      opinions being offered in redirect or       3      Q. Dr. Ritz, in your answers to the
 4      cross-examination based upon a document     4   questions from defense counsel, if I
 5      the expert had not previously disclosed.    5   understand correctly, you criticized the
 6   BY MS. FORGIE:                                 6   2018 NCI study because it did not compare
 7      Q. Do you agree with Dr. Acquavella         7   exposures -- it compared exposures to
 8   that the way the data was collected in the     8   non-exposed as opposed to exposures within
 9   AHS publication suggests that it is likely     9   the different exposure groups; is that
10   to result in appreciable exposure             10   correct?
11   misclassification for many pesticides?        11         MS. FORGIE: Object to form.
12          MR. LASKER: Objection to form.         12         THE WITNESS: I pointed out one
13          THE WITNESS: I agree partially. I      13      sort of potential bias that could have
14      agree for the pesticides that had a lot    14      biased away from the null.
15      of time varying components to them.        15   BY MR. LASKER:
16   BY MS. FORGIE:                                16      Q. Because of that?
17      Q. And did glyphosate have a lot of        17      A. Because of that.
18   time varying components to it?                18      Q. Your initial expert report on
19      A. Yes.                                    19   page 30 -- on page 23, here you're talking
20      Q. So with regard to glyphosate, you       20   about the DeRoos 2005 paper; correct?
21   would agree with Dr. Acquavella that the      21      A. Yes.
22   method of collection in the AHS study was     22      Q. And in that -- in your initial
23   likely to result in appreciable exposure      23   expert report, you state that authors decide
24   misclassification; is that correct?           24   to compare the cancer risk in these exposed
25      A. Correct.                                25   groups, not, underlined, to that among the


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 1   never exposed but instead compared high         1   difficult"; correct?
 2   exposure to low exposure while this type of     2      A. That's what it says.
 3   comparison attempts to control for and          3      Q. Do you agree the 2018 NCI study
 4   eliminate other risk factors that may           4   adds substantially to the body of
 5   distinguish non-exposed from exposed, hence     5   epidemiologic evidence regarding the
 6   reduce potential confounding bias. This         6   potential association between glyphosate
 7   type of approach also reduces any remaining     7   exposure and cancer in humans?
 8   exposure contrast even further and thus         8      A. I don't know what she means by
 9   reduces the ability to estimate risk            9   "substantially," but it helped me understand
10   increases with exposure and make the effect    10   what the problems with the study were, yes.
11   estimates also less comparable to those from   11      Q. And my last question with respect
12   other studies; correct?                        12   to the testimony that you gave regarding
13      A. Yes --                                   13   protective equipment is that your
14         MS. FORGIE: Object to form.              14   understanding that glyphosate has low acute
15         THE WITNESS: I'm completely              15   toxicity?
16      standing behind this because I'm already    16          MS. FORGIE: Object to form.
17      pointing out the potential confounding      17          THE WITNESS: My understanding is
18      bias.                                       18      that OP pesticides are much more easily
19   BY MR. LASKER:                                 19      irritative and having effects on a
20      Q. So in your initial expert report         20      farmer that would make him want to wear
21   with the 2005 paper, you made a criticism      21      protective equipment than glyphosate
22   because they didn't compare exposure groups    22      would.
23   to non-exposed, didn't you?                    23   BY MR. LASKER:
24         MS. FORGIE: Object to form.              24      Q. My question, though, is it your
25         THE WITNESS: No, I'm not making a        25   understanding that glyphosate has low acute

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 1      criticism. I'm pointing out that this        1   toxicity?
 2      is a very useful method to reduce            2         MS. FORGIE: Object to form. Asked
 3      potential confounding, however, you buy      3      and answered.
 4      the reduction in bias with a reduced         4         You can answer it again.
 5      ability to find a true effect.               5         THE WITNESS: My understanding of
 6   BY MR. LASKER:                                  6      pesticide acute effects is that OP
 7      Q. Exhibit 30-22, the Ward editorial,        7      pesticides have effects that will make
 8   next document they had you look at.             8      farmers use protection probably at a
 9      A. Yes.                                      9      much higher level than glyphosate would.
10      Q. In the first page of the editorial,      10   BY MR. LASKER:
11   the second column, the first full              11      Q. I didn't ask about OP pesticides.
12   paragraph which you did not read from          12   I've asked a simple question. Is it your
13   Dr. Ward states "Although the Andreotti, et    13   understanding that glyphosate has low acute
14   al study?                                      14   toxicity?
15      A. Where's that?                            15         MS. FORGIE: Objection. Asked and
16      Q. Right-hand column, first full            16      answered twice.
17   paragraph?                                     17         You can answer it again.
18      A. Yes, okay.                               18         Where are we on time?
19      Q. "Dr. Ward states that although the       19         THE WITNESS: I was not talking
20   Andreotti, et al, study, the 2018 study adds   20      about an absolute toxicity. I was
21   substantially to the body of epidemiologic     21      talking about a relative toxicity, and
22   evidence regarding the potential association   22      relativeness has to be with respect to
23   between glyphosate exposure and cancer in      23      other pesticides because these farmers
24   humans, interpreting the new findings in the   24      were applying multiple pesticides, and,
25   context of previous studies may be             25      therefore -- and they were only asked to


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                                     Page 190                                         Page 192
 1     respond with regard to protective           1     five minutes.
 2     equipment in one question that does not     2         MR. LASKER: Are you instructing
 3     specify the pesticide. So the farmer        3     the witness not to answer the question?
 4     when they are asked this question has to    4         MS. FORGIE: I'm saying you've had
 5     actually compare the toxicities in his      5     three-and-a-half minutes. You've gone
 6     head or he had to compare them before       6     five minutes. The time is up. I don't
 7     and then report what he's been using for    7     need to instruct her not to answer
 8     the most -- for the one with the most       8     because the time is up.
 9     side effects.                               9   BY MR. LASKER:
10   BY MR. LASKER:                               10     Q. Dr. Ritz, does glyphosate have low
11     Q. Dr. Ritz, is it your understanding      11   acute toxicity?
12   that glyphosate has low acute toxicity?      12         MS. FORGIE: We're done. The time
13         MS. FORGIE: Objection. Asked and       13     is up. She's already answered it four
14     answered three times. You can answer it    14     times anyway.
15     a fourth time.                             15         I want to put one statement on the
16         THE WITNESS: This is not a             16     record. Counsel stated that Dr. Ritz
17     question that I wanted to point out as     17     and by implication myself had not
18     an acute -- as an absolute. It is          18     discussed the Acquavella 2006 article.
19     something that the farmer was asked to     19     In fact, it is number one on the
20     compare. It's a relative comparison of     20     supplemental materials list that was
21     acute toxicities. And in terms of --       21     provided to counsel.
22     everybody rates risks, and if I'm a        22         MR. LASKER: If I misstated it, I
23     bungee jumper, my risk rating is           23     will correct myself.
24     probably different from somebody who is    24         MS. FORGIE: We all make mistakes,
25     a grandmother. So we are all rating our    25     but it's right there.

                                     Page 191                                         Page 193
 1     risks in engaging with certain              1       MR. LASKER: It's Andreotti. Oh,
 2     activities in a different way.              2   the supplemental materials list
 3         So a farmer who would be co-exposed     3   related -- I'm not sure what this is. I
 4     to glyphosate and organophosphates when     4   will accept the representation. I was
 5     asked what kind of protective equipment     5   looking at expert report, the
 6     they are using would probably go with       6   supplemental expert report which has a
 7     the one that he knows he has the most       7   material -- has a reference list that
 8     side effects from and report on that        8   does not mention Acquavella.
 9     one.                                        9       MS. FORGIE: Right, but this is
10   BY MR. LASKER:                               10   Muchy and Ryder which she couldn't have
11     Q. Dr. Ritz, is it your understanding      11   had when she did her report.
12   that glyphosate has low acute toxicity?      12       MR. LASKER: I will rephrase my
13         MS. FORGIE: Objection. Asked and       13   objection accordingly. I object to the
14     answered four times.                       14   questioning regarding a study and
15         You can answer it again.               15   reliance upon a study, the Acquavella
16         Where are we on time?                  16   2006 study that Dr. Ritz never mentions
17         THE VIDEOGRAPHER: It's been five       17   in her supplemental report and is not on
18     minutes since you started.                 18   the reference list for her supplemental
19         MS. FORGIE: Okay. That's it.           19   expert report.
20     She's not going to answer it.              20       MS. FORGIE: I don't agree with any
21         MR. LASKER: She clearly is not         21   of that but we're done.
22     going to answer it, but I started asking   22       (Testimony continues on the
23     the question a couple minutes ago and      23       following page in order to
24     still haven't got an answer.               24       include jurat.)
25         MS. FORGIE: It's over. It's been       25



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 1                                                   1   NAME OF CASE:
         THE VIDEOGRAPHER: This concludes            2   DATE OF DEPOSITION:
 2    today's proceedings in the deposition of       3   DEPONENT:
                                                     4        1. To clarify the record.
 3    Dr. Beate Ritz. We're off the record at                 2. To conform to the facts.
 4    6:14 p.m.                                      5        3. To correct transcription error.
                                                     6   Page _______ Line _______ Reason _______
 5       (Time noted: 6:14 p.m.)                         From_____________________ to________________
 6                                                   7

 7                                                       Page _______ Line _______ Reason _______
                                                     8   From_____________________ to________________
 8                                                   9   Page _______ Line _______ Reason _______
 9                                                       From_____________________ to________________
                                                    10
10                                                       Page _______ Line _______ Reason _______
                                                    11   From_____________________ to________________
11                                                  12   Page _______ Line _______ Reason _______
12          ____________________________                 From_____________________ to________________
                                                    13
13           Beate Ritz, M.D., Ph.D.                     Page _______ Line _______ Reason _______
14                                                  14   From_____________________ to________________
                                                    15   Page _______ Line _______ Reason _______
15                                                       From_____________________ to________________
                                                    16
16    Subscribed and sworn to before me                  Page _______ Line _______ Reason _______
17    this   day of      , 2018.                    17   From_____________________ to________________
                                                    18   Page _______ Line _______ Reason _______
18
                                                         From_____________________ to________________
19    ___________________________________           19

20                                                       Page _______ Line _______ Reason _______
      (Notary Public)                               20   From_____________________ to________________
21                                                  21   Page _______ Line _______ Reason _______
22                                                       From_____________________ to________________
      My Commission expires: ____________           22
23                                                       Page _______ Line _______ Reason _______
                                                    23   From_____________________ to________________
24                                                  24   Page _______ Line _______ Reason _______
25                                                       From_____________________ to________________
                                                    25



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 1        CERTIFICATE
 2   STATE OF CALIFORNIA:
 3
 4      I, LISA MOSKOWITZ, CSR, RPR, CRR, CLR,
 5   NCRA Realtime Systems Administrator,
 6   Certified Shorthand Reporter, do hereby
 7   certify:
 8      That the witness whose deposition is
 9   hereinbefore set forth was duly sworn, and
10   that such deposition is a true record of the
11   testimony given by such witness.
12      I further certify that I am not related
13   to any of the parties to this action by
14   blood or marriage, and that I am in no way
15   interested in the outcome of this matter.
16      IN WITNESS WHEREOF, I have hereunto set
17   my hand this 20th day of January, 2018.
18
19
20
21    _________________________________________
22    LISA MOSKOWITZ, CSR 10816, RPR, CRR, CLR
23    NCRA Realtime Systems Administrator
24
25



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